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                  Exhibit 3
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BLACK LOVE RESISTS IN THE RUST by and
through MARIELLE SHAVONNE SMITH and
CHARIS HUMPHREY on behalf of its members;
SHAKETA REDDEN; DORETHEA FRANKLIN;
TANIQUA SIMMONS; DE’JON HALL; JOSEPH
BONDS; CHARLES PALMER; SHIRLEY                                   Case No. 1:18-cv-00719-CCR
SARMIENTO; EBONY YELDON; and JANE
DOE, individually and on behalf of a class of all
others similarly situated;
Plaintiffs,
- vs -
CITY OF BUFFALO, N.Y.; BYRON B. BROWN,
Mayor of the City of Buffalo, in his individual and
official capacities; BYRON C. LOCKWOOD,
Commissioner of the Buffalo Police Department, in
his individual and official capacities; DANIEL
DERENDA, former Commissioner of the Buffalo
Police Department, in his individual capacity;
AARON YOUNG, KEVIN BRINKWORTH,
PHILIP SERAFINI, ROBBIN THOMAS,
UNKNOWN SUPERVISORY PERSONNEL 1-10,
UNKNOWN OFFICERS 1-20, each officers of the
Buffalo Police Department, in their individual
capacities.
Defendants.
-------------------------------------------------------------



                     EXPERT REPORT OF PROF. ROBERT SILVERMAN
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Background and Credentials

       I hold a Ph.D. in Urban Studies from the University of Wisconsin – Milwaukee, an M.P.A.

in Public Administration from Arizona State University, and a B.S. in Political Science from

Arizona State University. I am a Professor in the Department of Urban and Regional Planning at

the University at Buffalo (UB). I am an expert in interdisciplinary urban studies. My doctoral

training draws from the social sciences, combining methods used in urban sociology and urban

history. I apply these methods to the study of urban public policy using quantitative, qualitative

and archival research methods. My primary teaching interests are in the areas of U.S. housing

policy, and urban community development. In the past, I have taught courses in: community

development planning, public finance, economic development, citizen participation, non-profit

management, and housing policy. In addition to teaching in these areas, I have taught

undergraduate and graduate courses focusing on both quantitative and qualitative research

methods. My research focuses on residential racial segregation in the City of Buffalo, urban history

and urban sociology, the non-profit sector, the role of community-based organizations in urban

neighborhoods, inner-city schools and education reform, shrinking cities, fair housing, urban social

institutions including the police, and inequality in inner city housing markets. My research

examines these issues in an institutional context, focusing on how community development

policies are affected by agencies (e.g. the public schools, public housing authorities, social welfare

agencies and police departments) that they are implemented through. I have published a number

of journal articles, books, book chapters, and edited volumes on these topics. A copy of my

curriculum vitae is attached as Exhibit A.

       I have published articles and books pertaining to community development and housing

issues for over 25 years. These publications apply theories in the social sciences and empirical



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analysis to urban policy. A large portion of my research has focused on analysis of the City of

Buffalo, New York. I have studied Buffalo for twenty years since joining the faculty at UB in

2003. I have developed in-depth knowledge of development patterns and government

responsiveness to public participation in Buffalo as they relate to the city’s African American

community. Some examples of my work include chapters in the books (see Exhibit A for detailed

citations): Research Handbook on Community Development (2020), Community Development and

Public Administration Theory: Promoting Democratic Principles to Improve Communities (2018),

and Deliberations on Community Development: Balancing on the Edge (2012). Other examples of

my work have appeared in peer-reviewed academic journals such as: Community Development,

Housing Policy Debate, Journal of Urban Affairs, Urban Geography, and Urban Studies (see

Exhibit A for detailed citations). My research has been funded by agencies such as: the U.S.

Department of Housing and Urban Development (HUD), the Federal Reserve Bank of New York,

the Poverty Race & Research Action Council (PRRAC), and Erie County, New York. A full list

of the publications I have authored in the past ten years appears in my curriculum vitae attached

as Exhibit A.

       I have given prior expert testimony in the case NAACP San Diego Branch, San Diego

Tenant Union, and Darlisa McDowell v. San Diego House Commission, Superior Court of the

State of California, Case No. 37-2019-00012582-CU-WM-CLT. In this case, filed in 2019, the

plaintiffs argued that the San Diego Housing Commission (SDHC) administered HUD’s Section

8 voucher program in a manner that perpetuated racial segregation and the concentration of poverty

in San Diego in violation of state and federal law. I was hired to analyze the residential and spatial

distribution of voucher holders in the city of San Diego. This analysis involved mapping and

statistically examining where voucher holders rented housing units and the demographics of the




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neighborhoods where they resided. In addition to my declaration prepared for the lawsuit, there

were two peer reviewed publications in academic journals that were based on the data analysis

done for the case (Patterson et al, 2021; Silverman et al., 2022). In 2023, the case settled and the

SDHC was ordered to pay $1.6 million in attorneys’ fees.

       The opinions stated below are based on my knowledge, academic training, and experience

from my two decades of research on the City of Buffalo. This work has included quantitative,

qualitative and applied research focusing on fair and affordable housing policy, neighborhood

revitalization, demolition and residential displacement, public school finance and reform, and

public participation in the City of Buffalo. My opinions are also supported by my review of the

academic literature, census data, historical texts, archival documents, court records, documents

and transcripts in this case, articles from law reviews, news articles, and other trend data

concerning the City of Buffalo, which are common research methodologies in my field. A

complete list of materials that I considered in connection with my opinions appears in Exhibit B.

I am compensated for my work as an expert witness at a rate of $200 an hour. My compensation

is not contingent on the substance of my testimony or on the outcome of the case.



   I. Opinion 1: Buffalo is a highly racially segregated city, and the East Side of Buffalo
       is majority African American, in part due to the action and inaction of the City of
       Buffalo and municipal agencies.

       It is well-established that the City of Buffalo is highly racially segregated, and that African

Americans are concentrated on Buffalo’s East Side (Taylor, 1990; Kraus 2000; Kraus, 2004a;

Kraus 2004b; Yin, 2009). African American segregation patterns emerged during the early 1900s

in Buffalo and intensified over time (Price 1990). Census maps for 1960, 1970 and 1980 also show

the high concentration of the African American population on the city’s East Side, which is



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bounded by Main Street on the west, Broadway on the south, Delavan Avenue on the north, and

Bailey Avenue on the east (Price, 1990). Racial segregation has remained extremely high in the

City of Buffalo, and the patterns of racial segregation identified by Price (1990) have continued

into the present in what is known as the “East Side” of the City (Blatto 2018, Taylor et al. 2021).

       Black and white residents have been segregated from each other for decades in the City of

Buffalo. This is well-established in the U.S. Census. For example, Brown University’s Diversity

and Disparities project’s (US2020 brown.edu) analysis of Census data shows that Buffalo has

sustained black-white dissimilarity indexes across the 1980, 1990, 2000, 2010, and 2020 censuses.

Dissimilarity indexes measure the degree to which two groups are segregated from each other in a

geography. The Diversity and Disparities project calculated dissimilarity indexes comparing

census tracts in the City of Buffalo. The dissimilarity indexes calculated for Buffalo indicate that

in each of the decennial censuses from 1980-2020, anywhere from two-thirds to three-quarters of

the black population would need to move to achieve desegregation.

       Moreover, in the City of Buffalo, most black residents have lived in neighborhoods that

are predominantly black for decades. For example, the Diversity and Disparities project calculated

isolation indexes for black residents in the City of Buffalo. Isolation indexes show the degree to

which black residents are exposed only to each other at the census tract level. In essence, the

isolation index is a measure of racial concentration within census tracts, while a dissimilarity index

is a measure of segregation between census tracts. The calculations for isolation indexes show that

Buffalo has sustained high black-black isolation within census tracts across the 1980, 1990, 2000,

2010, and 2020 censuses. The Diversity and Disparities project’s calculations for the City of

Buffalo show that black residents of Buffalo live in neighborhoods where on average two-thirds

to three-quarters of the population is black.




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       Figure 1 shows the cumulative effects of historic residential segregation in Buffalo. The

black population clusters in census tracts on the East Side of Buffalo. This level of segregation has

contributed to several disadvantages for the city’s black population. For instance, residential

segregation has impeded black residents’ access to jobs and economic resources. This is reflected

in disparities in median household income between white and black residents. In 2022, the U.S.

Census estimated that median household income for whites in the city of Buffalo was $58,444

while it was $35,585 for blacks (U.S. census, American Community Survey 5-year estimates).

Median household incomes are compared for white and black residents at the census tract level in

Figure 2. These maps illustrate that black households had lower average incomes than whites

citywide, and lower income, black households clustered in census tracts with the highest

concentrations of black residents.




                          FIGURE 1: BLACK POPULATION 2022




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                          Source: United States Census, 2022 American Community Survey S-year Estimat es




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                                             FIGURE 2: Median Income 2022
                                                White               Black
                                                                                                                   - - ....

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          Median ho1.111ithold Income In ll'oe                                 Median household Income in tM
          past12ffl0fllhs(in20221nllation-                                     ~•t 12 months (in 2022 lnllalion•
          adjulled dollars)

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                               Source: Un ited States Census, 2022 American Community Survey 5-year Estimates




   II. Opinion 2: The City of Buffalo has engaged in racial discrimination against black
       Buffalonians for decades, exemplified by patterns of intentional racial segregation in
       housing and education.

       As in other places, racial segregation in Buffalo has been the product of several processes,

such as: redlining, mortgage discrimination, the use of restrictive covenants, blockbusting and

racial steering in the real estate industry, and other discriminatory practices (Kraus, 2004a; Blatto,

2018). In addition to policies and practices adopted by federal agencies, state agencies, and private

sector institutions that have resulted in segregation, Buffalo’s local policies have also reinforced

racial segregation. Two areas that overlap with my research exemplify how local governmental

decisions have intensified segregation in the City of Buffalo: local housing policies and local

education policies.

       A.                 Local Housing Policy Has Intensified Segregation of Buffalo’s East Side




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       The City of Buffalo and the Buffalo Municipal Housing Authority (BMHA), whose

commissioners are appointed by the Mayor, have adopted a series of policies that resulted in the

segregation of African Americans on the East Side of Buffalo. Beginning in the 1940s, the BMHA

sited public housing for African American tenants almost exclusively on the East Side of Buffalo

(Kraus 2000, Kraus 2004a, Kraus 2004b).

       The segregation of public housing on the East Side of Buffalo was a core issue in a federal

lawsuit filed against the BMHA, the City, the Mayor of Buffalo, and the U.S. Department of

Housing and Urban Development (HUD) in 1989 (Comer v. Kemp, 824 F. Supp. 1113 (W.D.N.Y.

1993)). There, the plaintiffs alleged that the City of Buffalo and other defendants discriminated

against them and all African Americans on the basis of their race by engaging in discriminatory

policies and practices that created and perpetuated racially segregated housing patterns within

publicly funded low-income public housing projects. The Comer case resulted in a 1996 consent

decree, under which the court ordered the City to change its tenant selection procedures, improve

the physical condition of public housing, and provide rent vouchers and mobility counseling to

tenants to ameliorate segregation (Popkin et. al., 2003). The consent decree’s implementation was

hampered by the City’s decision to challenge elements of the mobility counseling plan, as well as

a lack of coordination between the BMHA and other agencies that administered the Section 8

voucher program. For example, the City delayed implementation of the consent decree because it

objected to hiring a local fair housing organization, Housing Opportunities Made Equal (HOME),

as the contractor to administer the court-ordered mobility counseling program (Popkin et al., 2003:

192). The City argued that its co-defendant, the Rental Assistance Corporation (RAC), should have

been contracted to administer the program instead. HOME was ultimately hired to administer the




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mobility counseling program over the City’s objections, three years after the consent decree went

into effect.

        In addition to siting public housing in a manner that clustered it on the East Side of Buffalo

and racially segregating tenants in those properties, the City of Buffalo adopted other policies that

perpetuated segregation on the East Side of the city. For example, the City of Buffalo’s reluctance

to adopt fair housing policies has further exacerbated the problem of residential racial segregation

in Buffalo. Historically, past Mayors and Common Council members opposed the adoption of a

fair housing ordinance in Buffalo (Kraus 2004a). After decades of opposition, the City passed a

fair housing ordinance in 2006, but that policy was ineffective due to the City’s failure to

implement the ordinance (Silverman et. al. 2013). In 2012, colleagues and I collaborated with

Housing Opportunities Made Equal (HOME) on an evaluation of the City of Buffalo’s fair housing

performance for the years 2004-2012. The evaluation focused on the City’s implementation of its

action plan to address impediments to fair housing identified in its 2004 Analysis of Impediments

to Fair Housing report prepared for HUD. Our evaluation concluded that:



               The City’s fair housing ordinance contained strong language and provisions for
               expanded fair housing protections. This gave it a high degree of symbolic value.
               Still, it has been a failure on substantive grounds due to the lack of
               implementation. For example, the Fair Housing Officer’s position that is
               identified in the ordinance has been understaffed or vacant since the law was
               adopted. The lack of consistent staffing has led to a lapse in enforcement of the
               ordinance. No records of fines, civil penalties, or other enforcement actions
               have been maintained since the adoption of the ordinance. Moreover, the City
               of Buffalo has never prepared an annual report on the work performed under
               the law. This is particularly indicting, since this indicates that the City has been
               out of compliance with its own fair housing ordinance since its adoption in 2006
               (Silverman et. al., 2013: 33).




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       The City’s failure to meaningfully implement the reforms and lackluster performance on

fair housing is emblematic of their more general pattern related to racial discrimination in housing

policies and other areas.

       Another group of City policies that perpetuated segregation on the East Side of Buffalo

involved property demolition. Beginning in the 1950s, the City targeted housing demolition and

other land clearance activities in a manner that led to the displacement and further concentration

of African American residents on the East Side of Buffalo. Demolition, the routing of the

Kensington Expressway (NYS 33) and similar transit corridors, and other urban renewal policies

in the 1950s destabilized neighborhoods where black residents faced fewer barriers to renting and

purchasing housing (Kraus 2004a, 2004b). City policies related to the siting of public housing, the

use of eminent domain to purchase property, and housing demolition are identified as factors

leading to the exacerbation of racial segregation on the East Side of Buffalo by the court in Arthur

v. Nyquist, 415 F. Supp. 904 (W.D.N.Y. 1976). Other aspects of the Arthur case, which challenged

segregation in the Buffalo Public Schools (BPS), are discussed in the next section of this report.

       The construction of the Kensington Expressway had a disruptive impact on the East Side

of Buffalo. Its construction resulted in the loss of a preexisting parkway, the Humboldt Parkway,

designed by Fredrick Law Olmsted. The Humboldt Parkway was a component of the City’s larger

Olmsted park system. It was a tree-lined boulevard connecting Delaware Park and Parade Park

(later renamed Martin Luther King Jr. Park), the largest parks in the Olmsted system. The removal

of the Humboldt Parkway and its replacement with a below grade six-lane expressway physically

divided the East Side from the rest of the city and fueled decades of disinvestment (Blatto, 2018;

Segregation by Design, 2022).




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       The Kensington Expressway project and the segregation of public housing by the BMHA

isolated the East Side of Buffalo spatially and racially. City demolition policies also led to the

demise of black-owned businesses, “that had formed the economic backbone of the black

community” (Wolcott, 2006: 79). These public policies, coupled with the isolation of black

residents on the East Side of Buffalo, have been linked to a number of negative impacts on the

quality of life including: higher levels of exposure to air pollution from adjacent highways and

toxins on vacant and abandoned industrial sites, higher levels of pollution-linked diseases like

asthma and lead poisoning, and poor access to health care facilities and grocery stores (Blatto,

2018; UB Center for Urban Studies, 2000). The City’s patterns of demolition have persisted and

negatively impacted the East Side of Buffalo in a racially disparate manner into the contemporary

period. In one analysis, academic colleagues who specialize in spatial analysis and I found that the

City clustered property demolitions on the East Side of Buffalo between 1998 and 2012, while the

City approved the lowest density of building permits in the same area during that time period

(Silverman et. al. 2015). This reflected an absence of adequate City policies to promote economic

development on the East Side and/or provide property owners with incentives to improve their

properties. In another study, colleagues and I found that the City targeted demolition on the East

Side of Buffalo as part of its “5-in-5” plan, announced in 2007, to remove 5,000 vacant homes in

5 years (Yin et. al. 2022). At the end of the 5-year period of its implementation (circa 2013), this

targeted demolition program had resulted in increased clustering of vacancy and abandonment on

the East Side of Buffalo. We concluded that the “5-in-5” plan, “has a distinct and negative impact

on the predominantly African American neighborhoods where it was implemented” (Yin et al.,

2022: 13). The 5-in-5 program resulted in higher levels of abandonment, and declining housing

sales prices due to an increase in duress sales on the East Side after targeted demolition occurred.




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These outcomes were distinct to the East Side of Buffalo. The City of Buffalo’s housing demolition

policy has resulted in an inventory of over 7000 city-owned residential parcels on the East Side

and has contributed to sustained patterns of segregation and inequality in the City (Taylor et. al.

2021).

         At the same time that the City was targeting demolition on the East Side, which led to the

displacement of black-owned businesses and increased hardship for the black residents that

remained, the Niagara Frontier Transit Authority (NFTA) underinvested in public transit that

would connect East Side residents with entry-level employment opportunities in the suburbs. Bus

routes between the City and the suburbs are more limited, and bus service is more concentrated

within the City of Buffalo. Light rail service is also limited to a single light rail line on the Main

Street corridor in the City of Buffalo. There is no light rail service in other parts of the City, and

no light rail lines in the suburbs. In his study of low-income residents access to employment in

western New York, Hess concluded that without adequate public transit routes in the suburbs, and

limited access to car ownership, transit-dependent residents on Buffalo’s East Side are cut off from

jobs in the region’s employment growth centers which are located in the suburbs (Hess, 2005).

Similar barriers faced by black residents related to transit, housing, education, employment,

neighborhood revitalization and other community development policies are identified in a recent

report by Policy Link (2017).

         Accordingly, the City has taken policy positions that reinforce racial segregation and

negatively impact the quality of life on the East Side of Buffalo. This is evident in the City’s

deliberate decisions about the siting of public housing, targeted demolition programs, the

development and removal of highways and roads, and investments in public transit and local

economic development.




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       B.      Local Public Education Policies Have Intensified Segregation of Buffalo’s East
       Side

       Residential racial segregation and educational policies are closely linked in the City of

Buffalo because historically, school attendance boundaries were determined by residential

neighborhoods. In cities like Buffalo, the use of neighborhood attendance boundaries created a

nexus between residential segregation and school segregation. City officials and the Buffalo Public

Schools (BPS), which is funded with earmarked State of New York education funds that are

transferred to the City of Buffalo (approx. 80%) and additional local tax revenue from the City of

Buffalo (approx. 20%), have also adopted a series of policies that have furthered the educational

segregation of African Americans on the East Side of Buffalo. These include curriculum policies

and decisions about where school buildings are located, which further aggravated inequality by

producing a system of separate and unequal educational opportunities and outcomes for black and

white students (Taylor 1998; Kraus, 2000; Kraus, 2004a; Kraus, 2004b; Silverman et. al., 2016).

       Unlike most school districts in the state of NY, which are independent of municipal

government and have their budgets approved in annual school district elections, the BPS is one of

the state’s Big Five City School Districts (the other school districts in this group are New York

City, Rochester, Syracuse, and Yonkers). As a Big Five district, the BPS budget is submitted to

Common Council for approval and not voted on by the general public (Silverman, 2011). The BPS

budget is submitted to the Common Council by the Board of Education annually. The Board of

Education was a governing body appointed by the Mayor of Buffalo until 1974. Beginning in July

of 1974, the BPS Board of Education became a body elected by the public. After the annual BPS

budget submitted to the Common Council is approved, the City appropriates money to the BPS

from its municipal budget.



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        Municipal educational policies that reinforced racial segregation patterns and the

underfunding of schools in black neighborhoods were the focus of Arthur v. Nyquist, 415 F. Supp.

904 (W.D.N.Y. 1976). In this case, the federal district court found that City officials, including

members of the Buffalo Board of Education, the Buffalo Common Council, and current and former

school superintendents, had systematically discriminated against African American students by

engaging in policies that ensured the segregation of schools. Id. at 924-30, 933-941, 960. The court

found that City redistricting policies led schools like East High School and Woodlawn Junior High

School to have an almost 100% black student population, while schools like South Park became

majority white. Id. at 924-30, 933-36. The court found that these racial inequality problems were

worsened by City policies that allowed white students to transfer out of public schools once they

became predominantly black, while impeding black students from enrolling in high-quality,

predominately white vocational high schools in the district. Id. at 926-931, 936-943. The court

found that City officials segregated teachers and administrators though its staffing policies such

that black teachers and staff were assigned to schools with predominantly black students, creating

a fully segregated experience for students. Id. at 943-946. The court also found that City officials

“helped to cause [ ] residential segregation,” which entrenched patterns of school segregation and

made it all but inevitable. Id. at 968.

        In light of the court’s findings in Arthur v. Nyquist, City officials were ordered to formulate

a desegregation plan. Id. at 970. The plan to desegregate Buffalo’s public schools was introduced

in phases over a 4-year period (Tomasello, 2018). Phase I was implemented in 1976. It involved

redrawing attendance boundaries for Buffalo schools, as well as closing ten schools on the East

Side and replacing them with the first two magnet schools created in the City. The initial pace of

school desegregation was slow, and additional phases of the desegregation plan were required by




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the courts. Phase II was implemented in 1977, when the court ordered eight additional magnet

schools to be established in the City. The magnet schools were a key component of integrating the

public schools, and after Phase II was implemented, most of them achieved a racial balance in

enrollment. In 1979, the courts ordered that the two remaining City schools with predominantly

black enrollment be converted into the Buffalo Vocational Technical Center, a citywide magnet

school. In 1980, Phase III of the desegregation plan was implemented. It established six early

childhood centers for children in preschool to grade 2.

       The court-supervised school desegregation plan in Buffalo was considered a national

model to use magnet schools to desegregate public schools, and it informed the development of

the federal magnet school program (Winerip, 1985; Orfield et al. 2015; Tomasello, 2018). The

impact of the desegregation plan on enrollment patterns was largely the product of court oversight

and monitoring that endured until 1995 (Silverman et. al., 2016; Tomasello, 2018). In 1995, a

change in federal law—prompted by the Supreme Court decision in Board of Education of

Oklahoma City v. Dowell, 498 U.S. 237 (1991)—caused the court-ordered oversight of the BPS to

end. Prior to this decision, Phase IV of the post-Arthur desegregation plan was being developed to

address ongoing racial disparities in staffing, segregation in elementary schools, and other issues.

When court oversight ended, City officials abandoned Phase IV and changed its policies in a

manner that adversely impacted efforts to desegregate Buffalo's public schools (Tomasello, 2018).

       Since a portion of the BPS budget is submitted to the City of Buffalo Common Council

each year for approval, the City could have used its budget authority to oppose the scaling back of

school desegregation efforts. Specifically, after court-supervised desegregation ended, the BPS

reduced funding for magnet schools and other court-ordered BPS spending. Yet, there is no record

that the Buffalo Common Council raised any objections. City inaction in the face of these budget




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cuts was a continuation of City officials’ opposition to desegregate Buffalo’s public schools, which

began with the 1977 election of Mayor Jimmy Griffin, a staunch opponent of school desegregation,

and continued throughout the implementation of the school desegregation plan (O’Donnell, 1980;

Taylor 1998; Kraus, 2000).

       Accordingly, pre-Arthur segregation patterns in Buffalo’s public schools reestablished

themselves after court oversight and monitoring of BPS desegregation ended in 1995 due to the

BPS budget cuts, the scaling back of earlier efforts to desegregate the public schools, and inaction

by the City to oppose these changes. Currently, segregation in the Buffalo public school system

mirrors conditions in 1972 when Arthur v. Nyquist was filed (Byrnes, 2014; Silverman et. al.,

2016; Tomasello, 2018). This outcome has been linked to BPS policies fostering ongoing

discrimination in admissions to high-performing public schools, among others. In 2014, a racial

discrimination complaint was filed with the U.S. Department of Education and the New York Civil

Rights Commission against the BPS over its admissions criteria for City Honors High School

(Blanchard, 2014). This complaint resulted in a resolution agreement where the BPS agreed to hire

an independent consultant to develop admissions policies to address racial discrimination in school

assignment decisions (Buffalo Public Schools, 2014). Two years later, a community-based

advocacy group, the District Parent Coordinating Council, filed a complaint with the U.S.

Department of Justice (DOJ) because BPS had failed to adopt new admissions policies required

under the resolution agreement. (Jolly, 2016).

       The re-segregation of the BPS has coincided with other negative outcomes for black

students throughout the City of Buffalo. For instance, a 2015 report by Citizen Action of New

York identified systematic racial bias in school suspension and other disciplinary practices in the

BPS (Citizen Action of New York, 2015). After revising its code of conduct in 2013 to limit the




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use of suspensions, eliminate zero-tolerance policies, and adopt other reforms, the BPS reported a

60 percent decrease in short-term suspensions and a 50 percent decrease in long-term suspensions

(Citizen Action of New York, 2015: 14). However, the same report found that after the new code

of conduct was adopted, black students were 6.5 times more likely to receive short-term

suspensions and 3.7 times more likely to receive long-term suspensions. The persistence of these

racial disparities contributes to lost instruction time and poor educational outcomes for black

students. In a national study, Losen and Martinez (2020) found that the BPS had the third highest

rate of lost instruction days due to suspension in the country, with 320 days of suspension per 100

students overall and 502 days of suspension per 100 black students, in particular. The persistence

of racial disparities in school suspension and disciplinary practices, coupled with the re-

segregation of school buildings, contributes to a separate and unequal educational system in

Buffalo.

       As is the case with the City’s housing and community development decisions, the City of

Buffalo, through its actions and inactions, has maintained educational policies that reinforce racial

segregation and negatively impact the quality of life on the East Side of Buffalo and black residents

generally. Residents of segregated neighborhoods have lower high school graduation rates and

score lower on other measures of educational attainment (Policy Link, 2017). This translates into

fewer economic opportunities and the highest rates of unemployment in the City for black East

Side residents. These economic outcomes are reflected in fewer opportunities for wealth creation

through homeownership and other housing outcomes for East Side residents. For instance, the East

Side of Buffalo has the highest concentration of renters in the City, and those renters are the most

likely to be housing cost-burdened (i.e. spending more than 30 percent of household income on

rent) (Policy Link 2017).




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         In conclusion, although residential segregation in Buffalo and the concentration of black

residents into predominantly black neighborhoods like the East Side are the product of a number

of factors (e.g. business practices in the real estate industry, discrimination in lending), the City of

Buffalo’s public policies have unambiguously added to it (Taylor, 1990; Taylor, 1998; Kraus 2000;

Kraus, 2004a; Kraus 2004b; Yin, 2009; Silverman et. al., 2013; Tomasello, 2018; Yin et. al., 2022).

The same is true for segregation of schools. Specifically, the City of Buffalo, its municipal

agencies, political leaders, and the Buffalo Common Council have all played a role in creating and

perpetuating patterns of racial segregation in residential neighborhoods and schools as detailed

above.

         The outcome of the City’s actions and inactions is that residential and school racial

segregation continues to pervade the City of Buffalo. Racial segregation has shaped the East Side

of Buffalo’s history in defining ways, leading to its longstanding and generally acknowledged

identity as a racially isolated and segregated black community. The East Side of Buffalo’s defining

characteristic as a racially segregated, majority-black community has also made its residents

especially vulnerable to bias and targeting by both governmental and non-governmental actors as

discussed more below. The Buffalo Police Department (BPD) has also played a role in the

maintenance of racial boundaries in the City through its policing practices, as discussed in more

detail in Opinion 4. (Grabiner, 2016; Partnership for the Public Good, 2016; Phillips et. al., 2016).



   III. Opinion 3: Due to residential racial segregation and the public policies that have
         fostered it, the East Side of Buffalo is an identifiably majority-black neighborhood,
         while South Buffalo is an identifiably white neighborhood. Sharp disparities also
         exist between the neighborhoods when it comes to public policy.




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         Historical patterns of racial segregation have shaped the demographics of the City. In

particular, the East Side of Buffalo is an identifiable, majority-black, inner-city neighborhood,

while South Buffalo is identifiable as a predominately white neighborhood with working-class

roots.

         As noted in Opinion 1, the City’s East Side is roughly bounded by Main Street on the west,

Broadway on the south, Delavan Ave. on the north, and Bailey Ave. on the east. This area is widely

recognized as Buffalo’s black, inner-city. Figures 3 and 4 show that Buffalo’s black population

has been clustered within those boundaries for decades.



             FIGURE 3: BUFFALO'S BLACK POPULATION
                            1990                                                 2000




                                                                                   \




                  Source: United States Census, 1990 and 2000 Decennial Census
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            FIGURE 4: BUFFALO'S BLACK POPULATION
                           2010                                                  2020




                 Source: United States Census, 2010 and 2020 Decennia l Census


       The demographics of the East Side of Buffalo are widely known and referenced in public

discourse about the area. This is reflected in how the area is represented in the media, and in

studies and reports that have been prepared by university-based research centers, local

governments, professional consultants, and other organizations that have conducted such analysis

to develop recommendations for proposed public policies and urban planning projects. The East

Side’s identity as Buffalo’s segregated, black, inner-city area is grounded in empirical data. In

addition to the academic research cited in Opinion 2, applied research reports of the East Side

have documented that the area has been racially segregated, economically distressed, deprived of

equitable educational resources, exposed to higher levels of environmental pollutants, and the

target of disproportionate policing, which have resulted in higher rates of ticketing, arrests, and

incarceration for decades (Taylor, 1990; Blatto, 2018; Taylor et. al, 2021).

       In 2017, the City of Buffalo released a report titled the Housing Opportunity Strategy where

the areas comprising the East Side were identified as “low demand” and the “lowest demand”

housing submarkets in the City (czb, 2017; see also figure 7). Low demand areas were defined as


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housing markets with a surplus of housing units, “low levels of reinvestment, and high

concentrations of low-income households” (czb, 2017: 20). Lowest demand areas were defined as

housing markets that had “collapsed and [are] unresponsive to stimulation or correction” (czb,

2017: 20). The City’s report went on to describe “low demand” parts of the East Side as the product

of “decades of racial segregation, disinvestment, and rapid turnover … [where] … residential

vacant lots are common and 40% of remaining properties show moderate or severe levels of

distress” (czb, 2017: 27). The report goes on to describe the “lowest demand” areas of the East

Side as places where the population has “plummeted 62% since 1980, [and where] 49% of its

residential parcels are vacant lots, and the incomes of both renters and homeowners are extremely

low” (czb, 2017: 27).

         These sentiments about neighborhood conditions and the quality of life are echoed in media

reports about the East Side of Buffalo. For instance, a recent article in The New Yorker magazine

(Taylor, 2022) examined how racial strife in Buffalo has set the East Side apart from the rest of

the City in terms of socio-economic distress, housing abandonment, and disinvestment for decades.

Similar observations about the East Side of Buffalo were made in a recent Time magazine story

(Cortellessa, 2022) which traced disinvestment and socio-economic distress in the area to local

and state land-use policies and real estate practices that led to its racial segregation. The Time

magazine story also pointed out that popular knowledge of the East Side as Buffalo’s black, inner-

city area led to Payton Gendron targeting the Tops Supermarket in a white supremacist attack when

he came to Buffalo to murder black people in May of 2022 (Cortellessa, 2022). Local media outlets

echoed these observations, which identify the East Side as racially segregated, an economically

distressed food desert, and a racially targeted area for policing (Heaney, 2022; O’Neal-White,

2023).




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       South Buffalo, which is composed of the parts of the City south of interstate 190 and

downtown Buffalo, is a racially identifiable and demographically distinct community as well

(Kraus, 2000; Taylor 2022). Figures 5 and 6 show that Buffalo’s white population has clustered

within those boundaries as well as other parts of the City outside of the East Side for decades.



           FIGURE 5: BUFFALO'S WHITE POPULATION
                 1990                 2000




                Source: United States Census, 1990 and 2000 Decennial Census




           FIGURE 6: BUFFALO'S WHITE POPULATION
                 2010                 2020




                Source: United States Census, 2010 and 2020 Decennial Census




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       South Buffalo was the home base of former mayor Jimmy Griffin, who ran for office

following the Arthur school desegregation decision (Kraus, 2000; Taylor 2022). Mayor Griffin

opposed school desegregation and public housing, and conveyed nostalgia for the past when the

City was less racially diverse (Kraus, 2000). South Buffalo has historically been a majority-white

area, a stronghold of anti-school integration sentiment, and perceived as unwelcoming to blacks

in general (Taylor 1998). This legacy of racial hostility continues to influence how the area is

perceived. This legacy was exemplified in 2001 when South Buffalo made headlines in the local

newspaper, the Buffalo News, for white youths attacking black youths (Williams and Rey, 2001).

       Despite its reputation as a majority-white enclave in the City that is unwelcoming to

African Americans, South Buffalo is often portrayed in a relatively favorable light when

compared to the East Side in applied research and professional planning reports. For instance, as

a predominantly white area, this part of the City was less impacted by redlining, which is the

denial of mortgage lending based on residential racial characteristics, during the early to mid-

twentieth century (Blatto, 2018). In fact, the area surrounding Cazenovia Park was greenlined,

which is to say, favorable lending policies were embraced and encouraged based on the

neighborhood’s racial characteristics, according to 1937 Home Owners’ Loan Corporation

(HOLC) underwriting maps (Blatto, 2018: 5). The preferential status derived from greenlining

predominantly white neighborhoods like South Buffalo helped to stabilize the area and buffer it

from the type of distress that manifested on the East Side.

       In the City of Buffalo’s 2017 Housing Opportunity Strategy, South Buffalo is classified as

a mix of “high demand,” “moderate demand” and “soft demand” housing submarkets in the City.

The southernmost part of South Buffalo, where Cazenovia Park is located, is considered “high

demand”, with older homes in “excellent to good condition” (czb, 2017: 26). Adjacent to the area




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surrounding Cazenovia Park is a “moderate demand” area where “one-third of homes are in

excellent or good condition, but most in average condition” (czb, 2017: 26). The remainder of

South Buffalo, roughly two-thirds of the area, is considered to be in a “soft demand” area which

spent, “the 20th Century as bastions of working- and middle-class families employed by Buffalo’s

industrial economy” (czb, 2017: 27). The City’s housing opportunity strategy recommends that

public investments focus on stabilizing high, moderate and soft demand areas like South Buffalo,

while the City places more emphasis on demolition and land banking in its low and lowest demand

areas like the East Side. These areas are displayed in Figure 7.



                                                FIGURE 7



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                          Source: City of Buffalo,
                          Housing Opportunity Strategy Report (2017)




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       The City of Buffalo’s Housing Opportunity Strategy report is an example of a City plan

that contributes to the continuation of historic patterns of disinvestment on the East Side. This plan

fits the definition of “urban triage,” which is defined as a revitalization strategy focused on

strengthening housing markets in moderately healthy, predominantly white neighborhoods like

South Buffalo, while focusing on demolition and land banking in predominantly black

neighborhoods like the East Side which are considered to be in decline (Schmidt, 2011;

Hackworth, 2014; Kirkpatrick, 2015, Silverman et al., 2015). As noted above, it is widely

recognized that Main Street is the racial dividing line in the City of Buffalo, forming a hard

boundary between the black East Side and the rest of the City (Herko, 1993). The City’s urban

triage policies have followed the same geographic lines, exacerbating and reinforcing the City’s

historical residential segregation patterns, and contributing to negative socio-economic outcomes

such as those identified by research institutes like Policy Link (2017).



   IV. Opinion 4: The policing of identifiable African American communities on the East
       Side of Buffalo and throughout the City is both consistent with, and reflective of,
       historical patterns of discrimination by and in the City of Buffalo that persist to this
       day.

   To the extent that the City of Buffalo and the BPD have adopted modern-day policing practices

that target black Buffalonians and majority black neighborhoods like the East Side of Buffalo,

these practices are reflective of and consistent with historic patterns of racial discrimination by

governmental actors in the City of Buffalo.

       A.     There is a documented history of racial discrimination by the Buffalo Police

       Concerns about discriminatory policing in Buffalo have persisted for decades, particularly

among black Buffalonians who predominantly reside on the East Side, as documented in archival



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materials (Besag, 1967; Housel, 2007; Alfonso, 2014). One of the earliest court cases documenting

discriminatory policing in Buffalo was the class action lawsuit BUILD of Buffalo, Inc. v. Sedita,

441 F.2d 284 (2d Cir. 1971). This federal case was brought by a community organization and a

group of black residents, who challenged the BPD’s discriminatory policing practices and claimed

that the Mayor of Buffalo and Commissioner of the BPD directed, condoned, and encouraged a

systematic pattern of unconstitutional police misconduct. Examples of the alleged misconduct

identified in the BUILD of Buffalo complaint included stopping, searching, and detaining black

Buffalo residents without probable cause, referring to black people with derogatory or obscene

language and racial epithets, intimidating and humiliating individuals, using excessive force, and

other instances of harassment with impunity and no effective accountability mechanisms.

       This case grew out of activism led by BUILD of Buffalo Inc., a grassroots advocacy

group in Buffalo’s African American community that was engaged in community organizing

following the 1967 Buffalo race riot. Rioting was concentrated in racially segregated areas near

Williams Street, Jefferson Avenue, and other East Side locations. Patterns of discriminatory

policing and the mistreatment of black residents who were residentially segregated on the East

Side of Buffalo are understood to be among the causes of the 1967 Buffalo riot (Besag, 1967;

Alfonso 2014).

       The BUILD of Buffalo case was supported by testimonials which were consistent with

contemporaneous research (Besag, 1967) from residents and civic leaders about police-

community relations on the East Side of Buffalo that led to the riot. Much of the

contemporaneous research is modeled after studies of the 1965 Watts Riot in South Los Angeles,

which were conducted to understand the causes of the conflict and document post-riot

community sentiment (Cohen, 1967; Ransford, 1968). These types of quick-response studies




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were conducted around the United States during the mid-to-late 1960s and involved social

scientists going into communities immediately following riots (i.e. as a quick response) and

conducting interviews and focus groups with residents and stakeholders who witnessed the

events. Although those interviews were not based on systematic random sampling, they serve to

document the perceptions and sentiments of key groups during the riots. Besag (1967) produced

one of these studies following the 1967 Buffalo riot. Besag’s riot study was based on 138

interviews and a series of vignettes from interviews with black residents who witnessed the 1967

Buffalo riot.

       Besag’s riot study includes testimony from residents, police officers and other public

officials that recount numerous instances of police brutality, unlawful searches, lack of disciple

of officers for misconduct, and the use of derogatory language and racial epithets directed at

black residents leading up to and during the 1967 Buffalo Riot. Besag found that this racially

biased policing, and the Buffalo Police Department’s failure to investigate and respond to

complaints, was among the key drivers of the conflict. Black residents reported they were

angered and motivated by both a history of and recent unnecessary police harassment of black

residents, BPD officers’ foul and derogatory language, and longstanding poor police-community

relations in the period leading up to the Riot. Many interviewees reported that BPD officers

“frequently addressed them as ‘n*****s’ and ‘black bastards’” (Besag, 1967: 35). Black

residents also complained that police were overly aggressive during the Riot and engaged in

indiscriminate arrests, used derogatory language, and perceived all black people to be

troublemakers and law breakers, and that the BPD failed to investigate and discipline misconduct

by its officers. Overall, black residents believed that police exhibited both physical violence, and

“spiritual violence,” by which they meant that “the police consistently used foul language, held




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and expressed degrading racial attitudes and went out of their way to be rude ... [t]hey felt that

the police held them generally in contempt” (Besag, 1967: 42). Besag found that one of the most

serious concerns that residents articulated was that the police “shielded malfeasant officers from

investigation and did not investigate complaints against officers” (Besag, 1967: 39). Thus, many

residents stopped filing complaints because they had no faith that their complaints would be

acted upon, or, if acted upon, that the guilty parties would not be punished. Black residents “had

no confidence in the desire of the police department to police itself” (Besag, 1967: 42). Finally,

Besag found that Black residents thought that the BPD’s training by predominantly white men at

the University of Buffalo was inadequate, and that this led to officers using derogatory language,

for example, using the word “boy” to refer to Black people (Besag, 1967: 43). Besag’s quick-

response study has been widely cited in subsequent scholarship (Housel, 2007; Griffin, 2017;

Gawley, 2022).

        The complaint in the BUILD of Buffalo case amplified these concerns by alleging that the

BPD engaged in a widespread pattern of racially discriminatory misconduct, supported by

policies of Mayor Frank Sedita’s administration, including a lack of an effective accountability

system in the City to prevent police misconduct. The plaintiffs also alleged that the mechanisms

to provide redress for civilian complaints were not fair nor equitable. The Second Circuit

reversed the district court’s rejection of plaintiffs’ claims (BUILD of Buffalo, Inc., 441 F.2d at

289).

        Shortly after the BUILD of Buffalo settlement, the United States Department of Justice

filed a federal case, United States v. City of Buffalo, 457 F. Supp. 612 (W.D.N.Y. 1978), to

address the BPD’s discriminatory hiring and employment practices since discriminatory policing

was aggravated by the lack of black police officers in the BPD, including at the time of the 1967




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Buffalo riot. The decision in that case found that the BPD maintained a pattern of discriminatory

practices in the recruitment, promotion, and hiring of black police officers, as well as a hostile

work environment. Specifically, the court found that BPD engaged in a pattern of unlawful

discrimination and hostile work environment based on a number of incidents of racial

discrimination against black officers and residents, a number of which the court found that the

BPD failed to meaningfully investigate in violation of its own rules. These incidents include:

                Two white BPD officers stopped, detained, and questioned two black individuals
                 while in their car because they them found “suspicious,” who were in fact both
                 BPD officers who were on the force for twelve and fifteen years respectively.
                 The confrontation ended when a lieutenant arrived and identified the officers as
                 such. The court found that given the black officers service, “it is difficult to
                 understand how this incident came about.” Although the officers reported the
                 incident, no action was taken.

                A black officer witnessed a white police officer beat up a black suspect with a
                 blackjack while placing him in a cell. The officer filed charges, and the white
                 officer admitted his use of force. Despite the “unrebutted evidence” the BPD
                 terminated the investigation when the victim dropped his charges, and eventually
                 dropped the charges altogether.

                Multiple reports to Captains and Lieutenants about racial slurs and comments,
                 including the n-word, and statements invoking the “KKK” on documents and
                 BPD property, but taking no action being taken of these reports.

                Repeated use of BPD officers using racial slurs and the n-word in the presence
                 of high-ranking police officials, but not reported to the Commissioners’ Office,
                 as well as derogatory comments and racial slurs on bulletin boards.



Id. at 632-35. The court found that while “[t]he commissioner's office shows some evidence that

it investigated certain racial incidents, yet, in many of these incidents it failed either to conduct a

full investigation or to take action upon completion of the investigation.” Id. at 635. The court

also found that the BPD failed to take prompt action on complaints about discriminatory

treatment of residents and officers and concluded that “the numerous incidents of racial slurs and

harassment of black officers uncover a working environment heavily charged with racial


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discrimination.” Id. The court stated that the BPD failed to implement its rules regarding

investigation into racial bias complaints generally:

       The Department has hidden behind a paper policy of racial tolerance. It has stated
       that if the complaints brought out at this trial had been brought to the
       commissioner, action would have been taken. The record speaks otherwise. A
       strong policy directive should have been issued by the commissioner on racial
       tolerance, it should have been constantly impressed upon the entire force,
       particularly precinct and unit leaders, and a formal mechanism should have been
       established to deal with any related grievances. Id.


As a result of the decision, the courts ordered the City to develop remedies under court

supervision. Despite this decision, black police officers have continued to experience

discrimination and a racially hostile culture in the BPD for decades (Goldman, 1990). The

racially hostile culture in the BPD was the central focus of a 2006 lawsuit filed by Cariol Horne,

a former black female police officer who was fired and denied her pension after attempting to

intervene and stop other officers from using an illegal chokehold during an arrest of a black man

(Ewing, 2021). Following a protracted 15-year legal battle, Horne recently received vindication

in court including the restoration of her pension (Ewing, 2021). And as described in more detail

below, I understand plaintiffs’ police practices expert Michael Gennaco, who prepared a report

based on his analysis of the Buffalo Police Department’s complaint files through 2024 involving

allegations of racial bias in traffic enforcement and internal discrimination, has found that these

very deficiencies in the BPD’s supervisory policies and practices, including its handling of

complaints regarding racial bias, persist to this day.

       Ongoing discriminatory policing and racial stereotyping of black Buffalonians on the

East Side of Buffalo and throughout the City has been documented in research over the last few

decades (Housel, 2007; Partnership for the Public Good, 2016). Qualitative research in the early

2000s on police stereotyping of black residents on the East Side of Buffalo found that young


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black males dressed in “urban gear” were most likely to be profiled by the Buffalo police

(Housel, 2007: 73, 75). Housel (2007) also found that Buffalo police officers were making

unwarranted and illegal traffic stops of black motorists and were acting on racial stereotypes to

stop vehicles. She found a Buffalo police captain had warned superiors that officers were making

unwarranted and illegal traffic stops of black motorists on the East Side (Housel, 2007). Housel

(2007) also found evidence that for some officers, racial profiling is an “everyday practice.” One

officer was recorded telling drug couriers to avoid police stops by not wearing certain items that

may make them “look like the typical stereotype” and telling them, “don’t wear no ball caps,

don’t wear no jewelry . . . wear your seatbelt . . . , you gotta be, uh, incognito, in other words,

you can’t look like the typical stereotype” (Housel 2007). This was echoed in public comments

on police profiling by former Buffalo Police Chief, H. McCarthy Gipson who is black, and

described frequently being pulled over for “driving while Black,” stating that police officers’

first question to him in those instances would be “what are you doing out here?” (Fleischman

2014). He elaborated on this experience saying it was the, “[w]rong place, wrong neighborhood,

wrong time; it happens to so many people” (Fleischman 2014).

       In addition to qualitative research and personal accounts, there is quantitative evidence

from empirical research showing racial disparities related to policing in Buffalo. In a 2016

survey, only 44 percent of Buffalo’s black residents reported that they could trust the police,

while 72 percent of white residents held the same belief (Partnership for the Public Good, 2017:

2). There was a clear disparity in trust in the police between black and white residents. It is

notable that more than two-thirds of white respondents trusted the Buffalo Police Department,

while less than half of black residents did. In the same survey, only 12 percent of black residents

felt that the Buffalo police respected people of color, while 26 percent of whites held the same




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belief (Partnership for the Public Good, 2017: 2, 6). This was particularly striking, since even

whites held a strong belief that the Buffalo police did not respect people of color. And in 2017,

SUNY Buffalo and Cornell University Law Schools filed a study and complaint with the New

York State Attorney General based interviews and data analysis, finding that the Buffalo Police

Department engaged in a widespread pattern of unconstitutionally discriminatory checkpoints,

traffic enforcement, and other practices, with no accountability. (SUNY Buffalo Law School:

2017).

         Segregation patterns in the City of Buffalo have contributed to a distinct type of policing

practice on its East Side. Examples include the BPD Strike Force’s traffic checkpoints,

aggressive enforcement of marijuana laws in the black community, and the use of the Strike

Force to issue citations to East Side residents for traffic infractions and housing code violations

(Partnership for the Public Good, 2017; SUNY Buffalo Law School, 2017). The BPD Housing

Unit, which operated under contract with the BMHA from 2010 until 2020, has also been cited

as an example of over-policing, given that “[it] made 39 percent of all misdemeanor arrests in the

city from May 2013 through April 2014” (Partnership for the Public Good, 2016: 32; SUNY

Buffalo Law School, 2017). The BPD has been investigated for overly aggressive policing,

conducting raids on the wrong properties, and the shooting of dogs during narcotics searches on

the East Side of Buffalo (Partnership for the Public Good, 2016).

         I understand that Plaintiffs’ statistical expert, Dr. David Bjerk, has prepared a report

analyzing traffic citations issued by the Buffalo Police Department between 2012 and 2022. I

understand that his findings include: (1) significant racial disparities in the number of tickets

issued, with minority individuals being more than three times as likely to receive a citation than

white individuals; (2) that these racial disparities arise both within neighborhoods (i.e.,




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minorities receiving more citations than whites within the same neighborhood) and across

neighborhoods (i.e., more citations are issued in neighborhoods with a higher proportion of

minority residents); (3) that the racial disparities across neighborhoods cannot be explained by

greater crime or accidents in those neighborhoods; (4) that minorities are significantly more

likely to receive multiple tickets within a single stop; and (5) that the BPD overwhelmingly

located traffic checkpoints in heavily minority neighborhoods, and that this cannot be explained

simply by greater crime or accidents in those neighborhoods.

       Regarding traffic stop receipts where no ticket was issued, I understand that Dr. Bjerk

also found that from 2020-2022. over three times as many of these stop receipts were issued in

the BPD district that had the highest percent minority population than in the BPD districts that

had the lowest percent minority population. Similarly, among the 80% of stop receipts for which

driver race was recorded, the BPD issued almost three times as many to minority drivers

compared to non-minority drivers.

       Professor Bjerk's finding that that vehicle checkpoints were overwhelmingly located in

heavily minority neighborhoods (and cannot be explained simply by greater crime or accidents in

those neighborhoods) shows that the East Side of Buffalo, which is predominantly black (see

Figure 1), was significantly impacted by Buffalo's checkpoint policies and practices. This

targeted policing on the East Side of Buffalo is consistent with scholarly literature concerning

how racial stereotyping of neighborhoods results in the discriminatory treatment of African

Americans by the police and in other public policy areas (Spencer et. al., 2016; Anderson and

Plaut, 2012).. This literature argues that racial bias is present in policing and other policy areas

when geographically-targeted policy decisions are made where race is directly or indirectly

associated with neighborhood contexts, particularly when there is a close relationship between




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race and perceptions of disorder and crime in a target area (Anderson and Plaut, 2012). Likewise,

in an in-depth analysis of police raids on the East Side of Buffalo, Phillips et. al. (2016: 216),

concluded that the use of police raids was “not a truly serious” effort at crime fighting in Buffalo,

and using them as “a strategic policy of crime reduction will have limited success.” In short,

Phillips (2016) concluded that although these BPD tactics deployed on the East Side of Buffalo

subject black residents to over-policing, they do not produce a meaningful impact on crime.

       Key factors in the literature are present here: as described in Opinions 1-3, the East Side

of Buffalo is racially segregated, and is perceived as such by the larger community. And as

Professor David Bjerk has found in his expert analysis, the advent of the Buffalo Police

Department’s Strike Force Unit resulted in traffic enforcement that was highly concentrated in

the majority-minority areas of the City such as the East Side. The BPD also consistently ticketed

minority drivers substantially more heavily than non-minority drivers throughout the period

Professor Bjerk studied. His findings are consistent with the analysis of BPD drug raids in 2012

and BPD checkpoints in 2012-2013 by Phillips et al. (2016) and Wheeler and Phillips (2018).

   B. The City’s documented patterns of discriminatory policing are similar to the City’s

       pattern of residential racial and educational discrimination that I have studied

       As an urban historian, the targeted policing of black motorists in the City of Buffalo and

on the East Side forms a nexus with residential segregation and patterns of discriminatory

policies in Buffalo’s housing and public schools, as discussed in Opinions 1-3. Just as those

policies have been perpetuated over time by the City’s actions and inactions, a similar pattern has

occurred with policing in the City. Discriminatory policies related to housing, public schools,

and policing have coincided, in part, because of geographically-targeted policy decisions with

reference to racial stereotypes about neighborhoods (Anderson and Plaut, 2012).




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       Policies related to segregation and discrimination in housing were in place when the City

and the BMHA made decisions about the siting of public housing and the segregation of its

residents beginning in the 1930s. These policies resulted in system-wide racial segregation until

the Comer case produced a consent decree in 1996. Yet, the implementation of that consent

decree, which was designed to cure racial segregation in public housing, was slowed due to

resistance from the City. The pace of change in the City’s fair housing policies was similar. After

decades of resistance to the adoption of a fair housing ordinance, the City finally adopted a fair

housing ordinance in 2006. However, the implementation of the City’s fair housing ordinance

was under-resourced and under-staffed. As a result, my analysis of the City’s implementation of

its fair housing ordinance concluded that it was a “paper tiger” (Silverman et al., 2013). In

contrast to the City’s resistance to court-ordered public housing desegregation and its poor

implementation of fair housing policies, the City adopted an aggressive housing demolition

policy on the East Side of Buffalo in the early 2010s. This demolition policy resulted in

increased levels of abandonment and disinvestment in predominantly black residential areas on

the East Side of Buffalo (Yin et al., 2022). In the wake of these outcomes of the City’s policy

actions and inactions, the City released its Housing Opportunities Strategy report in 2017 as

previously discussed above, which recommended a continuation of demolition, and land

clearance in predominantly black neighborhoods on the East Side of Buffalo, while targeting

neighborhood revitalization in predominantly white South Buffalo neighborhoods and other parts

of the City (czb, 2017).

       Policies related to the segregation of Buffalo’s public schools followed a parallel timeline

to policies related to segregation and discrimination in housing. Buffalo’s public school system

was segregated after years of decisions to site public school buildings in racially segregated




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neighborhoods, and then to set school attendance boundaries in a manner that conformed with,

and entrenched, the City’s racial demographics. These conditions persisted until the mid-1970s

when the Arthur case resulted in a court-ordered desegregation plan for the BPS. That plan was

rolled out in three phases, which involved closing segregated schools, replacing them with new

magnet schools, and an open enrollment system designed to racially integrate the BPS. In

addition to desegregating students enrolled in the Buffalo schools, the plan included elements to

create more racial integration among teachers and administrators who were assigned to schools.

The courts faced resistance from the BPS, and there was sustained political opposition to school

desegregation from key elected officials in City Hall, including Mayor Griffin who was in office

from 1978-1993, during the period of court-supervised desegregation. This period of BPS

supervision was in place from the late 1970s to the early 1990s. When it ended, the BPS cut

funding for programs that were put in place to promote desegregation and the BPS returned to

being highly segregated.

       Similar to residential racial segregation and inequality in the public schools, the City of

Buffalo has had longstanding patterns of discriminatory policing. Problems with policing in

Buffalo were the central focus of research on the causes of the 1967 Buffalo race riot (Besag,

1967). These problems were also the focus of the 1971 BUILD case and the 1998 United States

vs. the City of Buffalo case. Both of these cases resulted in court-supervised plans to reform BPD

policies and practices related to discriminatory policing, as well as discrimination in the hiring

and recruiting of black police officers. Despite the court supervision of police reform, changes in

BPD policies were impeded by the persistence of a racially hostile police culture and a lack of

oversight of police practices in City Hall (Goldman, 1990).




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       Policies of the City of Buffalo have contributed to historic patterns of discrimination on

the East Side of Buffalo. As far back as Arthur v. Nyquist, court records reflect that City officials

have taken official positions conceding that residential segregation exists on the East Side of

Buffalo. As discussed in Opinion 3, there is a general consensus in Buffalo and nationally that

the East Side of Buffalo is a racially segregated, predominantly black, inner-city community.

Yet, the acknowledgement by public agencies, the courts, and the general public that the East

Side of Buffalo is racially segregated has not led to sustained public policies, particularly within

City government, that are focused on ameliorating segregation in housing and the public schools,

nor has it curbed racially targeted policing practices. Instead, the City’s geographically targeted

housing and policing policies continue to reference and perpetuate racial segregation patterns.



   V. Opinion 5: Historically, racial discrimination in the City of Buffalo has not been
       remedied without court intervention or outside monitoring.

       The patterns of City policies in areas like housing, public education, and policing suggest

that absent a significant and intentional departure from historical practices, problems of racial

segregation and discrimination in Buffalo will remain entrenched and unresolved. In each of

these policy areas, communities have called for change but mandates for policy change by the

courts or an outside agency have been the most effective way to reverse racial disparities in the

City. Despite challenges that have emerged during periods of supervision by the courts and other

outside agencies, these types of remedies have led to incremental reductions in racial disparities.

For example, the Comer case led to court-ordered desegregation of public housing and a mobility

counseling program for recipients of housing vouchers. Similarly, the Arthur case led to court-

ordered desegregation of the public schools and the integration of school staff in the system. I

understand that police practices expert witness Michael Gennaco’s in-depth analysis of the way


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that the Buffalo Police Department has responded to widespread complaints about racially biased

traffic enforcement, as well as its supervision, monitoring, and training policies and practices, are

fundamentally inadequate and fails to meaningfully address the risk of racially biased policing

within the BPD. Similar to findings in previous court decisions discussed above, he found that

BPD has no policy directive in its mission statement to prevent racial bias and that the BPD and

conducts deficient and sometimes no investigations whatsoever into complaints about racial

discrimination, departing from well settled accepted police practices. Specifically, I understand

he found the BPD has barriers that prevent individuals from filing complaints and frequently

assigns racial bias complaints to untrained field level staff. Overall, he found that the BPD fails

to scope and investigate racial bias allegations, frequently does not gather the relevant evidence,

conducts no, biased, and incomplete interviews, and ultimately fails to conduct objective

investigations. He found no evidence the BPD analyzes the evidence it does obtain, and that it

often relies on an officer’s reputation to resolve complaints, while discounting complainants by

relying on their criminal background. Due to these and other defects, Mr. Gennaco found that the

BPD leadership fails to hold officers accountable for policy violations, including racial

discrimination. In addition, Mr. Gennaco found that supervisors frequently do not report racial

bias incidents or complaints, including the use of racial slurs, and have not been trained to do so.

The City’s other supervisory practices were largely non-existent, insufficient, and fall below

accepted practices, including the BPD’s absence of an early warning system and it’s failure to

audit or track racial disparities in ticketing or stops (despite knowledge of such disparities),

complaint data, and body camera footage. Like previous cases, he found the recent measures the

City has adopted related to racial bias have been ineffective, as the BPD has failed to enforce or

train officers on its new Traffic Enforcement policies, fix-it tickets, or stop cards designed to




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record racial data during traffic stops. In addition, Mr. Gennaco found that there was no law

enforcement or safety related benefit to the City’s multiple ticketing and pretextual policing

policies and that these policies risk unequal traffic enforcement. Overall, he found that the BPD’s

practices and policies create an institutional culture whereby officers can engage in biased traffic

enforcement with little concern for detection and intervention, thereby perpetuating the risk of

racially biased misconduct and eroding public trust in the BPD.

       Of the three areas, there has been relatively less court intervention in policing. In the

absence of such intervention, racial disparities in policing have persisted in Buffalo. This is

supported by the research results Professors David Bjerk and Michael Gennaco presented in their

expert witness reports. It is noteworthy that Bjerk concluded that racially disparate ticketing

practices continued even after 2018 when BPD's checkpoints program was put on hiatus and that

BPD targets both minority neighborhoods and minorities for traffic stops where no tickets are

issued at disproportionate rates compared to non-minority neighborhoods and non-minorities..

This suggests that the City’s policing practices continue to produce disparate impacts for black

residents, whether targeted in predominantly black neighborhoods or citywide.

       I understand that police practices expert witness Michael Gennaco’s in-depth analysis of

the way that the Buffalo Police Department has responded to widespread complaints about

racially biased traffic enforcement, as well as its supervision, monitoring, and training policies

and practices, are fundamentally inadequate and fails to meaningfully address the risk of racially

biased policing within the BPD. Similar to findings in previous court decisions discussed above,

he found that BPD has no policy directive in its mission statement to prevent racial bias and that

the BPD and conducts deficient and sometimes no investigations whatsoever into complaints

about racial discrimination, departing from well settled accepted police practices. Specifically, I




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understand he found the BPD has barriers that prevent individuals from filing complaints and

frequently assigns racial bias complaints to untrained field level staff. Overall, he found that the

BPD fails to scope and investigate racial bias allegations, frequently does not gather the relevant

evidence or review video and body camera footage, conducts no, biased, and incomplete

interviews, and ultimately fails to conduct objective investigations. He found no evidence the

BPD analyzes the evidence it does obtain, and that it often relies on an officer’s reputation to

resolve complaints, while discounting complainants by relying on their criminal background.

Due to these and other defects, Mr. Gennaco found that the BPD leadership fails to hold officers

accountable for policy violations, including racial discrimination. In addition, Mr. Gennaco

found that supervisors frequently do not report racial bias incidents or complaints, including the

use of racial slurs, and have not been trained to do so. The City’s other supervisory practices

were largely non-existent, insufficient, and fall below accepted practices, including the BPD’s

absence of an early warning system and it’s failure to audit or track racial disparities in ticketing

or stops (despite knowledge of such disparities), complaint data, and body camera footage. Like

previous cases, he found the recent measures the City has adopted related to racial bias have

been ineffective, as the BPD has failed to enforce or train officers on its new Traffic

Enforcement policies, fix-it tickets, or stop cards designed to record racial data during traffic

stops. In addition, Mr. Gennaco found that there was no law enforcement or safety related benefit

to the City’s multiple ticketing and pretextual policing policies and that these policies risk

unequal traffic enforcement. Overall, he found that the BPD’s practices and policies create an

institutional culture whereby officers can engage in biased traffic enforcement with little concern

for detection and intervention, thereby perpetuating the risk of racially biased misconduct and

eroding public trust in the BPD.




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         These facts, along with historical trends, bolster my conclusion that a period of court

supervision and monitoring in Buffalo is needed to prompt the adoption of policies to reduce

racial discrimination and bias in policing, as was the case with housing and the public schools.




  5/29/2024
________________________________                       ________________________________
(Date)                                                  (Signature)




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          APPENDIX A
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                                                                             Silverman-CV |1

                                        Curriculum Vitae
                                                of
                                      Robert Mark Silverman
                                             May 2024

Office Address:

       University at Buffalo
       Department of Urban and Regional Planning
       Office Location: 329 Hayes Hall
       Mailing Address: Hayes Hall
       Buffalo, NY 14214-8030

Telephone:

       Voice: (716) 829-5882
       Fax: (716) 829-3256

E-Mail:

       rms35@buffalo.edu

Education:

       Ph.D., Urban Studies, University of Wisconsin-Milwaukee, 1997

               Dissertation Title: “Doing business in minority markets: Black and Korean entrepreneurs
               in Chicago’s ethnic beauty aids industry.”

       M.P.A., Public Administration, Arizona State University, 1991

       B.S., Political Science, Magna Cum Laude, Arizona State University, 1989

Employment History:

Faculty Positions:

       University at Buffalo, Professor, Department of Urban and Regional Planning, August 2014-.

       University at Buffalo, Co- Director of Graduate Studies, Department of Urban and Regional
       Planning, August 2022.

       University at Buffalo, PhD Program Director, Department of Urban and Regional Planning,
       August 2014-May 2017 and January 2019-January 2021.

       University at Buffalo, Associate Professor (tenured August 2004), Department of Urban and
       Regional Planning, August 2003-July 2014.
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                                                                               Silverman-CV |2

       Wayne State University, Associate Professor (tenured), Department of Sociology, August 2003.

       Wayne State University, Assistant Professor, Department of Sociology, August 2000-July 2003.

       Jackson State University, Assistant Professor, Department of Urban and Regional Planning,
       August 1998-May 2000.

       University of Wisconsin-Milwaukee, Lecturer, Department of Sociology, August 1995-
       September 1996, and August 1997-May 1998.

       University of Wisconsin-Parkside, Lecturer, Department of Sociology/Anthropology, September
       1996-December 1996, and August 1997-December 1997.

       University of Wisconsin-Milwaukee, Teaching Assistant, Department of Sociology, August
       1994-May 1995.

Research Positions:

       University at Buffalo, Affiliated Faculty, University at Buffalo Center for Cannabis and
       Cannabinoid Research (CeCaR), July 2021-.

       University at Buffalo, Affiliate Research Associate, Buffalo Center for Social Research, May
       2007-2022.

       University at Buffalo, Senior Research Fellow, Center for Urban Studies, August 2003-.

       University of Wisconsin-Milwaukee, Research Associate, Small Business Development Center,
       April 1995-September 1995.

       University of Wisconsin-Milwaukee, Research Analyst I, Urban Studies Program, June 1994-
       August 1994.

       University of Wisconsin-Milwaukee, Project Assistant, Urban Studies Program/Center for
       Economic Development, August 1992-May 1994.

Honors and Awards:

       2014-2015 Urban Education, outstanding reviewer award.

       2014 Article of the Year Award, Leadership and Policy in Schools, “Urban, suburban and rural
       contexts of school districts and Neighborhood revitalization strategies: Rediscovering equity in
       education policy and urban planning.”

       2012 Emerald Literati Network, Highly Commended Article Award, International Journal of
       Public Sector Management, “The effects of perceived funding trends on nonprofit advocacy: A
       national survey of nonprofit advocacy organizations in the United States.”

       2009 Scott Greer Award for Postgraduate Achievement in the Study of Urban Social Institutions
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                                                                               Silverman-CV |3

       2008 Community Development Society, Outstanding Program Award (with Frida Ferrer,
       Jacqueline Hall, Jeff Kujawa, Kelly Patterson, and Henry Taylor)

       1992 Outstanding Graduate, Arizona State University, College of Public Programs

Professional Memberships:

       Association for Community Organizing and Social Administration (ACOSA)
       American Planning Association (APA)
       Association of Collegiate Schools of Planning (ACSP)
       Urban Affairs Association (UAA)

Grant Support:

       Co-Investigator, “Neighborhood impacts of recreational cannabis legalization: A spatial and
       sentimental analysis of physical and cyber spaces,” Baldy Center Small Grant, 2023-2024, The
       Baldy Center for Law & Social Policy, University at Buffalo ($5,000).

       Principal Investigator, “Some public housing authorities (PHAs) get it right: successful
       implementation of the U.S. Department of Housing and Urban Development’s (HUD’s) small
       area fair market rent (SAFMR) rule,” Baldy Center Small Grant, 2021-2022, The Baldy Center
       for Law & Social Policy, University at Buffalo ($5,000).

       Principal Investigator, "Who lives in the worst government subsidized housing?: A demographic
       analysis of residential patterns in U.S. Department of Housing and Urban Development (HUD)
       properties." 2019-20 Baldy Center Research Grant, The Baldy Center for Law & Social Policy
       ($2,400).

       Co-Investigator, "Small area fair market rents (SAFMRs): Best practices and the scope of
       institutional and community support for their expansion," Poverty Race & Research Action
       Council (PRRAC) 2018-2019, ($10,000).

       Principal Investigator, “Turning the American dream into commercial rental property: The effects
       of single-family rental (SFR) real estate investment trusts (REITs) on Nashville’s suburbs.” 2017-
       18 Baldy Center Research Grant, The Baldy Center for Law & Social Policy, University at
       Buffalo ($2,400).

       Co-Investigator "Turning the Corner." Ralph C. Wilson, Jr. Foundation. ($70,000).

       Principal Investigator, “Model Community Benefits Agreements (CBAs): An Emerging Tool for
       Negotiating Equitable Development.” 2016-17 Baldy Center Research Grant, The Baldy Center
       for Law & Social Policy, University at Buffalo ($2,000).

       Co-Investigator, “Anchor Institutions and Neighborhood Revitalization Policy: The Use of
       Linked Development Agreements (DAs) and Community Benefit Agreements (CBAs) in
       Shrinking Cities.” 2014-15 Baldy Center Research Grant, The Baldy Center for Law & Social
       Policy, University at Buffalo ($3,996).
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                                                                         Silverman-CV |4

  Principal Investigator, “Sustainable Affordable Housing in Shrinking US Cities: Developing an
  Analytic Tool for Siting Subsidized Housing and Evaluating HUD Program Outcomes” HUD,
  FY2013 Sustainable Communities Research Grant ($124,897).

  Principal Investigator, “Evaluating the Implementation of Fair Housing Policy by the City of
  Buffalo, NY” 2012 Sydney S. Spivack Community Action Research Initiative (CARI) Grant,
  ($2,994.50).

  Principal Investigator, “"Evaluation of the Implementation of the Plan to Remove Impediments to
  Fair Housing in the City of Buffalo"” Baldy Center Small Research Grant 2011-2012, The Baldy
  Center for Law & Social Policy, University at Buffalo ($999).

  Co-Investigator, “BMHA Choice Neighborhood Planning Grant” 2011-2013 (sub-award for the
  BMHA application for funding), ($249,902)

  Principal Investigator, “Developing Planning and Policy Strategies for a Small American Indian
  Nation: The Case of the Unkechaug Nation” Baldy Center Small Research Grant 2010-2011, The
  Baldy Center for Law & Social Policy, University at Buffalo ($999).

  Principal Investigator, “Fair and Affordable Housing Policy in the US: Trends, Outcomes, Future
  Directions,” Baldy Center Small Research Grant 2009-2010, The Baldy Center for Law & Social
  Policy, University at Buffalo ($1,000).

  Principal Investigator, “Fair Housing in the U.S. Real Estate Industry: An Analysis of Minority
  Real Estate Professionals’ Perceptions,” 2009-2010 UB2020 Scholars Fund, University at Buffalo
  ($12,154).

  Principal Investigator, “The Effects of Perceived Funding Trends on Nonprofit Advocacy and
  Civic Engagement: A National Survey of Organizations Serving African-American and Latino
  Communities,” Baldy Center Annual Research Grant 2008-2009, The Baldy Center for Law &
  Social Policy, University at Buffalo ($4,639).

  Principal Investigator, “Association for Research on Nonprofit Organizations and Voluntary
  Action (ARNOVA) 2009 Annual Conference Paper Presentation,” Individual Development
  Award, State of New York/United University Professions Joint Labor-Management Committees,
  2008-2009 ($549).

  Co-Principal Investigator, “Analysis of Impediments for Fair Housing Choice. Erie County Urban
  County Consortium. 2007-2008 ($56,634.45).

  Principal Investigator, “Community-Based Organizations (CBOs) and Affordable Housing: A
  National Survey of Local Public Administrators,” Baldy Center Small Grant 2006-2007, The
  Baldy Center for Law & Social Policy, University at Buffalo ($1,000).

  Co-Principal Investigator, “University at Buffalo Neighborhood Transformation Community
  Outreach Partnership Center (UBNT-COPC),” United Stated Department of Housing and Urban
  Development (HUD), 2005-2008 ($359,050).
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                                                                                  Silverman-CV |5

         Principal Investigator, “Special Issue of Community Development: Journal of the Community
         Development Society,” Individual Development Award, State of New York/United University
         Professions Joint Labor-Management Committees, 2006-2007 ($284).

         Principal Investigator, “Housing Service Agency Structural Definition Report,” Buffalo Branch,
         Federal Reserve Bank of New York, 2005 ($48,966).

         Principal Investigator, “Public Participation on the Border: A Comparative Analysis of the
         Niagara Region’s Municipalities in Canada and the United States,” Canadian-American Studies
         Research Grant, 2004-2005, The Canadian-American Studies Committee, University at Buffalo
         ($500).

         Principal Investigator, “Community-Based Organizations (CBOs) and Citizen Participation in
         Buffalo, New York,” Baldy Center Small Grant, 2004-2005, The Baldy Center for Law & Social
         Policy, University at Buffalo ($1,000).

         Principal Investigator, “Metro Detroit Lending Analysis,” Summer Faculty Research Support
         Award, 2003-2004, State Policy Center, College of Urban Labor and Metropolitan Affairs,
         Wayne State University ($11,843).

         Principal Investigator, “Metro Detroit Lending Analysis,” University Research Grant Program,
         2002-2003, Wayne State University ($4,500).

         Principal Investigator, “Citizen Participation in Detroit, Michigan: An Analysis of Citizens
         District Councils,” Humanities Center Resident Scholar, Fall 2002, Wayne State University
         ($400).

         Principal Investigator, “Citizen Participation in Detroit, Michigan: An Analysis of Citizens
         District Councils,” College of Liberal Arts Research & Inquiry Grant, 2002, Wayne State
         University ($3,000).

         Principal Investigator, “Community Development Power Structure: Organizational Networks,
         Social Capital and Citizen Participation in Detroit’s CDCs,” University Research Grant Program -
         2000-2001, Wayne State University ($7,000).

Grants Under Review:

         Co-Investigator, NIMHD Specialized Centers of Excellence on Minority Health and Health
         Disparities Grant, “Igniting Hope in Buffalo New York Communities: Training the Next
         Generation of Health Equity Researchers,” US Department of Health and Human Services,
         National Institute of Health (NIH). Submitted August 2023 ($4.025 million).

         PI, Resilient Energy Economies (REE), Strategies to Support Fossil Fuel-Dependent Regions
         Grant, “Planning and Implementation of the Justice40 Initiative Goals by Clean Hydrogen Hub
         (H2Hub) grantees.” Preproposal submitted May 2024 ($100,000).

Publications:

Books:
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                                                                              Silverman-CV |6

       Silverman, R.M. and Patterson, K.L. (2022). Qualitative research methods for community
       development, 2nd Edition. New York: Routledge.

       Silverman, R.M., Patterson, K.L., Yin, L., Ranahan, M., Wu, L. (2016). Affordable housing in US
       shrinking cities: From neighborhoods of despair to neighborhoods of opportunity? Bristol: Policy
       Press.

       Reviews of Affordable housing in US shrinking cities:

                       Reviewed by Justin Hollander. 2018. Town Planning Review, 89(1): 92-93.

                       Reviewed by Magda Maaoui. 2017. Lectures, December: 1-4.

       Silverman, R.M. and Patterson, K.L. (2015). Qualitative research methods for community
       development. New York: Routledge.

                Reviews of Qualitative research methods for community development:

                       Reviewed by Roger Bolton. 2015. Journal of Regional Science, 55(4): 682-684.

       Silverman, R.M. (2000). Doing business in minority markets: Black and Korean entrepreneurs in
       Chicago’s ethnic beauty aids industry. New York: Garland Publishing.

                Reviews of Doing business in minority markets: Black and Korean entrepreneurs in
                Chicago’s ethnic beauty aids industry:

                       Reviewed by Robert L. Boyd. 2003. Critical Sociology, 29(1):89-92.

Edited Books:

       Santiago, A.M., Patterson, K. and Silverman, R.M. (2023). Beyond lip service: Bringing racial
       justice to black and brown communities. New York, Routledge.

       Patterson, K.L. and Silverman R.M., eds. (2013) Schools and urban revitalization: Rethinking
       institutions and community development. New York: Routledge.

                Reviews of Schools and urban revitalization: Rethinking institutions and community
                development.

                       Reviewed by Stephanie Sweeney. 2016. Journal of Urban Affairs: Early 38(3):
                       468-470.

                       Reviewed by Harold Henderson. 2015. Planning, 81(1): 56.

                       Reviewed by Sol Gamsu. 2015. Environment and Planning B, 42: 379-380.

       Silverman, R.M. and Patterson, K.L., eds. (2012). Fair and affordable housing in the US: Trends,
       outcomes, future directions (paperback). Chicago: Haymarket Books
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                                                                               Silverman-CV |7

       Silverman, R.M. and Patterson, K.L., eds. (2011). Fair and affordable housing in the US: Trends,
       outcomes, future directions (hardcover). Boston: Brill.

               Reviews of Fair and affordable housing in the US: Trends, outcomes, future
               directions.

                       Reviewed by Deirdre Oakley. 2013. Journal of Urban Affairs 35(2): 250-251.

                       Reviewed by Katrin B. Anacker. 2012. International Journal of Housing Policy
                       12(4): 506-509.

       Silverman, R.M., ed. (2004). Community-based organizations: The intersection of social capital
       and local context in contemporary urban society. Detroit: Wayne State University Press.

               Reviews of Community-based organizations: The intersection of social capital and local
               context in contemporary urban society:

                       Reviewed by Brian Holland. 2006. American Review of Public Administration
                       36(1):115-119.

                       Reviewed by Mark Edward Braun. 2006. Critical Sociology 32(2/3):561-563.

                       Reviewed by Michael Gecan. 2005. Economic Development Quarterly
                       19(3):289-290.

                       Reviewed by Sarah Elwood. 2005. Journal of Regional Science 45(1):269-271.

                       Reviewed by Theresia Williams. 2005. Community Development: Journal of the
                       Community Development Society 37(1):90-91.

                       Reviewed by Richardson Dilworth. 2005. Journal of Planning Education and
                       Research 24(3):457-459.

                       Reviewed by Michael Kuchinsky. 2004. Newsletter of the ASPA Organized
                       Section on Religion and Politics 21(1):12.

Edited Journal Volumes:

       Edited Journal Volume. (Forthcoming). “Cannabis Legalization in the United States: Public
       Policy, Social Welfare, and Public Health Implications,” Societies/Social Sciences/Sustainability.

       Edited Journal Volume. (2021). “Beyond lip service: Bringing racial justice to black and brown
       communities,” Journal of Community Practice, 29(4).

       Edited Journal Volume. (2020). “Special issue on promoting social justice and equity in shrinking
       cities,” Journal of Urban Affairs, 42(3).

       Edited Journal Volume. (2018). “Special issue on community development for equity and
       empowerment,” Societies, 8(4).
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                                                                                Silverman-CV |8


       Edited Journal Volume (Co-Editors Patterson, K.L. and Santiago, A.M.). (2015). “Moving
       beyond the great recession: Innovative programmatic and policy responses to poverty,” Journal
       of Community Practice, 23(3/4).

       Edited Journal Volume (Co-Editor Patterson, K.L.). (2013). “Special issue on urban education
       and neighborhood revitalization,” Journal of Urban Affairs, 35(1).

       Edited Journal Volume (Co-Editor Patterson, K.L). (2012). “Themed issue on inner-city
       empowerment and revitalization,” Community Development, 43(4).

       Silverman, R.M., ed. (2006). “Special issue on participation,” Community Development, 37(4).

       Silverman R.M., ed. (2002). “Special issue on social capital and community,” International
       Journal of Sociology and Social Policy, 22(9/10).

Refereed Journal Articles:

       Yin, L., Yin F, and Silverman R.M. (2024) "Rethinking Demolition Plans to Fight Neighborhood
       Blight in Shrinking Cities: Using Agent-based Policy Simulations" Cities, Online First.

       Yin, L., Yin, F. and Silverman, R.M. (2023). Spatial clustering of property abandonment a
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       Seminar Series, University of Florida, Gainesville, FL, January 12, 2012.

       Guest Speaker, Analyzing Impediments to Fair Housing Choice. Civil Rights Aspects of
       Sustainability Conference. US Department of Housing and Urban Development (Buffalo Office),
       Amherst, NY, October 27, 2011.

       Guest Lecturer, Metro Detroit Lending Analysis, Wayne State University, State Policy Center
       Brown Bag Series, March 25, 2004.

       Guest Lecturer, What Does HMDA Data Tell Us About Fair Lending and Community
       Development in Buffalo, University at Buffalo, Center for Urban Studies Brown Bag Series,
       November 21, 2003.

       Guest Lecturer, Community-Based Organizations: Where Social Capital and Citizen
       Participation Fit In, Wayne State University, Humanities Center Brown Bag Series, October 22,
       2002.

       Visiting Scholar, Understanding Social Capital in Community-Based Organizations, Michigan
       State University, Social Capital Initiative, March 2, 2001.

Paper Presentations:

       Patterson, K.L., Silverman, R.M., Rehman-Veal, A. Yin, L. and Wang, S. “Building the Prison to
       Legal Drug Dealing Pipeline: A Comparative Analysis of Social Equity Policies in Recreational
       Cannabis Licensing.” Urban Affairs Association Annual Meeting, New York, NY, April 24-27,
       2024.

       Yin, L.,Wang, S., Patterson, K.L., Silverman, R.M. and Rehman-Veal, A. “Recreational
       Marijuana Dispensaries and Neighborhood Vibrancy: An Analysis of Spatial Clustering and
       Neighborhood Characteristics in New York City [Poster].” Urban Affairs Association Annual
       Meeting, New York, NY, April 24-27, 2024.

       Yin, L., Yin, F. and Silverman, R.M. “Addressing Property Abandonment Crisis in Shrinking
       Cities: An Agent-based Policy Simulation.” International Conference on Geoinformatics,
       London, UK, July 19-21, 2023.

       Silverman, R.M., Patterson, K.L. and Williams, S. “Mandatory Small Area Fair Market Rents
       (SAFMRs) and Opportunity Moves: Implementation Strategies of Public Housing Authority
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  (PHA) Administrators.” Urban Affairs Association Annual Meeting, Nashville, TN, April 26-29,
  2023.

  Silverman, R.M., Patterson, K.L. and Williams, S. “Don’t fear the reefer?: The social equity and
  community planning implications of New York’s recreational cannabis law on underserved
  communities.” Urban Affairs Association Annual Meeting, Washington, DC, April 12-14, 2022.

  Silverman, R.M., Patterson, K.L., Wang, C. “It’s not always sunny in San Diego for Housing
  Choice Voucher (HCV) holders: The reproduction of racial and socioeconomic segregation under
  the Choice Communities Initiative.” Association of Collegiate Schools of Planning, Annual
  Conference, Virtual, November 5-8, 2020.

  Patterson, K.L. and Silverman, R.M. “The best-laid plans often go awry: An analysis of the
  implementation of small area fair market rents (SAFMRs).” Urban Affairs Association Annual
  Meeting, Los Angeles, CA, April 24-27, 2019.

  Silverman, Robert Mark, Taylor, Henry, Yin, Li, Miller, Camden, and Buggs, Pascal. “There
  Goes Our Family Friendly Neighborhood: Residents’ Perceptions of Institutionally Driven Inner-
  City Revitalization in Buffalo, NY. Association of Collegiate Schools of Planning, Annual
  Conference, Buffalo, NY, October 25-28, 2018.

  Chilton, Kenneth, Silverman, Robert Mark, Chaudhrey, Rabia and Wang, Chihuangji. “The
  Impact of Single-Family Rental REITS on Regional Housing Markets: A Case Study of
  Nashville, TN.” Urban Affairs Association Annual Meeting, Toronto, ON, April 4-7, 2018.

  Belongie, Nicholas and Silverman, Robert Mark. “Model CBAs and community benefits
  ordinances as a tool for negotiating equitable development: Three critical cases.” Urban Affairs
  Association Annual Meeting, Minneapolis, MN, April 19 - 22, 2017.

  Yin, Li, Patterson, Kelly L., and Silverman, Robert Mark. “Walkability and subsidized housing in
  U.S. shrinking cities: Assessing neighborhood accessibility of subsidized housing.” Association
  of Collegiate Schools of Planning, Annual Conference, Huston, TX, October 22-25, 2015.

  Silverman, Robert Mark, Patterson, Kelly L., Yin, Li and Wu, Laiyun. “Neighborhood
  characteristics and the location of HUD subsidized housing in shrinking cities: An analysis to
  inform anchor-based urban revitalization strategies.” Urban Affairs Association Annual
  Meeting, Miami, FL, April 8 - 11, 2015.

  Yin, Li, Wu, Laiyun, Patterson, Kelly L. and Silverman, Robert Mark. “Siting Affordable
  Housing in Neighborhoods of Opportunity: A Review of the Literature and an Assessment of
  Methodological Issues.” Urban Affairs Association Annual Meeting, Miami, FL, April 8 - 11,
  2015.

  Patterson, Kelly L., Ranahan, Molly, Silverman, Robert Mark, Yin, Li. “The Scope of
  Community Benefit Agreements (CBAs) in Shrinking Cities: Proposing a Typology that
  Differentiates between Developers by Sector.” Urban Affairs Association Annual Meeting,
  Miami, FL, April 8 - 11, 2015.
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  Silverman, Robert Mark, Lewis, Jade and Patterson, Kelly L. “Institutional Rape Revisited:
  Anchor Institutions and Residential Displacement in Buffalo, NY.” Urban Affairs Association
  Annual Meeting, San Antonio, TX, March 19 - 22, 2014.

  Silverman, Robert Mark, Patterson, Kelly L. and Yin, Li. “Picking Neighborhood Winners
  and Losers in the Incredible Shrinking City: Municipal Acquisition and Neglect of Abandoned
  Property in Buffalo, NY.” Joint AESOP/ACSP Congress, Dublin, Ireland, July 15-19, 2013.

  Silverman, Robert Mark. “A Spatial Analysis of School District Segregation, Finance, and
  Education Outcomes in Western New York (poster).” Urban Affairs Association Annual
  Meeting, San Francisco, CA, April 3 - 5, 2013.

  Yin, Li and Robert Mark Silverman. “Do Vacant Properties Kill Neighborhoods? An Agent-
  Based Simulation of Property Abandonment.” Association of Collegiate Schools of Planning,
  Annual Conference, Salt Lake City, UT October 13-16, 2011.

  Silverman, Robert Mark, Li Yin and Kelly L. Patterson. “Socio-Economic and Institutional
  Predictors of Address Vacancy: An Exploratory Study of Buffalo, NY 2008-2010.” New York
  State Political Science Association (NYSPSA), Annual Conference, Lewiston, NY April 8-9,
  2011.

  Silverman, Robert Mark and Kelly L. Patterson. “Does Funding for Fair Housing Advocacy
  Enhance Enforcement?: An Analysis of the Relationship Between the Fair Housing Initiative
  Program (FHIP) and the Fair Housing Assistance Program (FHAP).” Association for Public
  Policy Analysis and Management (APPAM), Annual Conference, Boston, MA November 4-6,
  2010.

  Silverman, Robert Mark “Fair Housing in the U.S. Real Estate Industry: Perceptions of Black
  Real Estate Professionals.” Association of Collegiate Schools of Planning, Annual Conference,
  Minneapolis, MN October 7-10, 2010.

  Silverman, Robert Mark and Patterson, Kelly L. “The Effects of Perceived Funding Trends on
  Nonprofit Advocacy: A National Survey of Nonprofit Advocacy Organizations.” Association for
  Research on Nonprofit Organizations and Voluntary Action (ARNOVA) Annual Conference,
  Cleveland, OH, November 19-21, 2009.

  Patterson, Kelly L. and Robert Mark Silverman. “Public Administrators, Nonprofit Providers and
  Elected Officials Perceptions of Impediments to Fair Housing in the Suburbs: An Analysis of Erie
  County, New York,” American Society for Public Administration (ASPA) Annual Conference,
  Miami, FL, March 20-24, 2009.

  Silverman, Robert Mark. “Perceptions of Nonprofit Funding Decisions: A Survey of Local Public
  Administrators and Executive Directors of Community-Based Housing Organizations (CBHOs).”
  Association for Research on Nonprofit Organizations and Voluntary Action (ARNOVA) Annual
  Conference, Philadelphia, PA, November 20-22, 2008.
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  Silverman, Robert Mark. “Community-Based Organizations (CBOs) and Affordable Housing: A
  National Survey of Local Public Administrators.” American Collegiate Schools of Planning
  (ACSP) Annual Conference, Milwaukee, WI, October 18-21, 2007.

  Patterson, Kelly L. and Robert Mark Silverman. “Building a Better Neighborhood Housing
  Partnership?: Lessons Learned from Efforts to Reform Buffalo’s Community-Based Housing
  Organizations.” American Society for Public Administration Annual Conference, Denver, CO,
  April 1-4, 2006.

  Silverman, Robert Mark. “Public Participation on the Border: A Comparative Analysis of the
  Niagara Region’s Municipalities in the US and Canada.” Community Development Society
  Annual Conference, Baltimore, MD, June 26-29, 2005.

  Silverman, Robert Mark. “Housing Policy at the Grassroots: Community-Based Organizations
  (CBOs) and Citizen Participation in Buffalo, New York.” American Collegiate Schools of
  Planning Annual Conference, Portland, OR, October 21-24, 2004.

  Silverman, Robert Mark, Henry L. Taylor, Jr. and Christopher G. Crawford. “The Role of Citizen
  Participation in Main Street Revitalization: An Analysis of a Local Planning Project.”
  Community Development Society Annual Conference, Cleveland, OH, July 18-21, 2004.

  Silverman, Robert Mark. “Mortgage Lending Disparities in Metropolitan Buffalo: Policy Options
  and Implications for Grassroots Advocacy.” Urban Affairs Association Annual Meeting,
  Washington, D.C., March 31, 2004 - April 3, 2004.

  Silverman, Robert Mark. “Fair Lending, Neighborhood Demographics, and Community
  Development Corporations (CDCs): An Analysis of Detroit, Michigan.” Southwestern Social
  Science Association Annual Meeting, San Antonio, Texas, April 16-19, 2003.

  Silverman, Robert Mark. “Fair Lending in Detroit?: The Mediating Effects of Neighborhood
  Demographics and the Racial Composition of Community Development Corporations (CDCs).”
  Urban Affairs Association Annual Meeting, Cleveland, Ohio, March 26-29, 2003.

  Silverman, Robert Mark. “Gender and the Community Development Industry System: The
  Institutionalization of Grassroots Warriors.” American Sociological Association Annual Meeting,
  Chicago, Illinois, August 16-19, 2002.

  Silverman, Robert Mark. “‘We’ll Take the First Step for You!’: Community Development
  Corporations (CDCs) and Citizen Participation in Detroit, Michigan,” Annual Meeting of the
  Urban Affairs Association, Boston, Massachusetts, March 20-23, 2002.

  Silverman, Robert Mark and Kelly L. Patterson. “Paradise Lost: Social Capital and the
  Emergence of a Homeowners Association in a Suburban Detroit Neighborhood.” American
  Sociological Association Annual Meeting, Anaheim, California, August 18-21, 2001.

  Silverman, Robert Mark. “CDCs and Charitable Organizations in the Urban South: Mobilizing
  Social Capital Based on Race and Religion for Neighborhood Revitalization,” Annual Meeting of
  the Urban Affairs Association, Los Angeles, California, May 3-6, 2000.
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       Silverman, Robert Mark. “Vying for the Urban Poor: Charitable Organizations, Faith-Based
       Social Capital, and Racial Reconciliation in a Deep South City,” Association of Social and
       Behavioral Scientists Meeting, Jackson, Mississippi, March 23-25, 2000.

       Silverman, Robert Mark. “When the Community Decides: CDCs, Social Capital and
       Collaborative Partnerships in Urban Mississippi,” Annual Meeting of the Urban Affairs
       Association, Louisville, Kentucky, April 14-17, 1999.

       Silverman, Robert Mark. “Minority Business and the Welfare Economy: The Case of Korean
       Entrepreneurship in Chicago’s Ethnic Beauty Aids Industry,” National Social Science
       Conference, Las Vegas, Nevada, April 13-15, 1997.

       Silverman, Robert Mark. “The Institutional Context of Minority Entrepreneurship on the South
       Side of Chicago,” Urban Forum, Milwaukee, Wisconsin, March 15, 1997.

       Silverman, Robert Mark. “The Roots of the Ethnic Haircare Industry in Chicago,” Mid-America
       Conference on History, Topeka, Kansas, September 12-14, 1996.

       Silverman, Robert Mark. “Posing the Pariah Question: A Typology for Middleman Minorities in
       Contemporary Urban America,” Annual Meeting of the Midwest Sociological Society, Chicago,
       Illinois, April 6-9, 1995.

Panel Discussant / Session Organizer:

       Panel Moderator, Different faces of urban entrepreneurship, Urban Affairs Association Annual
       Meeting, New York, NY, April 24 - 27, 2024.

       Webinar Organizer, The future of nonprofit advocacy for racial equity and social justice in urban
       planning education and practice, (offered for AICP continuing education credit).University at
       Buffalo, Buffalo, NY, November 28, 2023.

       Panel Moderator, Healthy/Unhealthy Cities. Urban Affairs Association Annual Meeting,
       Washington, DC, April 12 - 14, 2022.

       Panel Discussant, The Urban Affairs Association (UAA): After a Half-Century of Supporting the
       Urban Research Community… What Next? Urban Affairs Association Annual Meeting,
       Washington, DC, April 12 - 14, 2022.

       Panel Discussant, UB Center for Urban Studies, The Harder we run: The state of black Buffalo in
       1990 and the present, October 28, 2021.

       Panel Discussant, New Jersey Planning & Redevelopment Conference, Community Benefits
       Agreements: Understanding the New Requirement and How to Create a Win-Win, June 10-11,
       2021.

       Panel Discussant, Urban Affairs Association Webinar, Job Search Strategies for PhD Students
       and Early Career Professionals, April 22, 2021.

       Panel Moderator, Local Host Session, Turning the Corner: Findings from Buffalo & Other
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  Project Cities. Association of Collegiate Schools of Planning, Annual Conference, Buffalo, NY,
  October 25-28, 2018.

  Mobile Tour Organizer, Harnessing Urban Planning for Racial and Social Justice: The Black
  Buffalo Tour. Association of Collegiate Schools of Planning, Annual Conference, Buffalo, NY,
  October 25-28, 2018.

  Panel Discussant, Reflections on Being an Activist Scholar. Urban Affairs Association Annual
  Meeting, Toronto, ON, April 4 - 7, 2018.

  Panel Discussant, “Public Policy,” Symposium on Affordable Housing, University at Buffalo,
  April 10, 2018.

  Panel Discussant, “Public Discussion on New Books and Current Events, The New Urban Crisis:
  How our Cities are Increasing Inequality, Deepening Segregation, and Failing the Middle Class
  – and What We Can Do About It by Richard Florida,” Buffalo & Erie County Public Library,
  October 27, 2017.

  Panel Discussant, “Government & Diversity in the New Administration,” Public Service
  Recognition Conference, Buffalo State University, May 10, 2017.

  Panel Discussant, “Affordable Housing Strategies: Best Practices and Issues,” Meeting of the
  NAIOP, Commercial Real Estate Development Association, Upstate New York Chapter, Buffalo
  Club, March 28, 2017.

  Colloquy Organizer and Moderator, Building Bridges Between the Academy and the Community:
  Strategies for Applied Research and Public Scholarship. Urban Affairs Association Annual
  Meeting, Minneapolis, MN, April 19 - 22, 2017.

  Colloquy Organizer and Moderator, Getting Tenure/Promotion –Research, Teaching and Service
  Strategies. Urban Affairs Association Annual Meeting, Minneapolis, MN, April 19 - 22, 2017.

  Panel Organizer and Moderator, “Designing and Planning for Equity,” Symposium for the Grand
  Opening of Hayes Hall, School of Architecture and Planning, September 23-24, 2016.

  Panel Moderator, The Impact of Blight on Metro Buffalo. Forum on the Impact of Blight on
  Communities: Definitions, Effects & Programs. The SUNY Rockefeller Institute of Government,
  the Center for Urban Studies at the University at Buffalo and the Center for Technology in
  Government at the University at Albany. Buffalo, NY, April 19, 2016.

  Colloquy Organizer, Moderator and Presenter, Getting Tenure/Promotion -Teaching/Service
  Strategies. Urban Affairs Association Annual Meeting, San Diego, CA, March 16 - 19, 2016.

  Colloquy Organizer and Moderator, Getting Tenure/Promotion –Research/Publication Strategies.
  Urban Affairs Association Annual Meeting, San Diego, CA, March 16 - 19, 2016.

  Panel Member, Community benefits agreements: Development by the people, for the people of
  Buffalo. Research Workshop on Cities and Society of the UB Humanities Institute and the
  Community Engagement and Public Policy Research Initiative, Buffalo, NY, February 25, 2016.
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  Panel Moderator, The Challenges of Voucher Housing. Urban Affairs Association Annual
  Meeting, Miami, FL, April 8 - 11, 2015.

  Panel Organizer, Creating Neighborhoods of Opportunity for the Urban Poor. Society for the
  Study of Social Problems (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, Communities and Contested Social Spaces. Society for the Study of Social
  Problems (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, Crime and Interventions in International and Domestic Contexts. Society for the
  Study of Social Problems (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, CRITICAL DIALOGUE: Theoretical Dimensions of Institutional and Social
  Processes. Society for the Study of Social Problems (SSSP), Annual Conference, San Francisco,
  CA, August 15-17, 2014.

  Panel Organizer, Issues in International and Transnational Education. Society for the Study of
  Social Problems (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, Schools and Educational Challenges. Society for the Study of Social Problems
  (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, Social Policy and Sexuality. Society for the Study of Social Problems (SSSP),
  Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, Anti-Poverty Policy Formulation and Implementation. Society for the Study of
  Social Problems (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer, Emerging Inequalities in Public Health Systems. Society for the Study of Social
  Problems (SSSP), Annual Conference, San Francisco, CA, August 15-17, 2014.

  Panel Organizer and Discussant, Author Meets Author: Deconstructing Racism in Schools and
  Communities. Society for the Study of Social Problems (SSSP), Annual Conference, San
  Francisco, CA, August 15-17, 2014.

  Panel Moderator, Journal of Urban Affairs Sponsored Panel: Special Issue on “Urban Education
  and Neighborhood Revitalization”. Urban Affairs Association, Annual Conference, Pittsburgh,
  PA, April 18-21, 2012.

  Session Chair, Nonprofits and School-Community Development Initiatives. Association for
  Research on Nonprofit Organizations and Voluntary Action (ARNOVA) Annual Conference,
  Toronto, ON, November 17-19, 2011.

  Session Chair, Impact of Government Devolution on Nonprofits. Association for Research on
  Nonprofit Organizations and Voluntary Action (ARNOVA) Annual Conference, Toronto, ON,
  November 17-19, 2011.
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  Panel Moderator, Waiting for Superman. Building a Movement: Nickel City Film Series Buffalo,
  NY, July 20, 2011.

  Panel Discussant, Should the Public Schools Partner with Community and Neighborhood
  Redevelopment: Shall We Dance? Association of Collegiate Schools of Planning, Annual
  Conference, Minneapolis, MN, October 7-10, 2010.

  Panel Moderator and Discussant, University-Community Partnerships, Past, Present, and Future:
  Are We in the Post-COPC Era? American Society for Public Administration Annual Conference,
  Washington, DC, March 23-27, 2007.

  Panel Discussant, Change in the Nonprofit Sector and Its Impact on Local Community
  Development Strategies. Community Development Society Annual Conference, St. Louis, MO,
  June 25-28, 2006.

  Panel Discussant, Breaking Down the Residential Color Line: Progress, Problems, Prospects.
  Buffalo Seminar on Racial Justice Workshop, University at Buffalo, Buffalo, NY, April 7, 2006.

  Session Discussant, Planning the Metropolitan Region: Buffalo, NY and the Black Community,
  1940-1970. Association for the Study of African American Life and History Annual Convention,
  Buffalo, NY, October 5-9, 2005.

  Session Moderator, Citizen Participation and Community Development. American Collegiate
  Schools of Planning Annual Conference, Portland, OR, October 21-24, 2004.

  Session Moderator, Follow the Money: Insuring and Lending in Urban Neighborhoods. Urban
  Affairs Association Annual Meeting, Washington, D.C., March 31, 2004-April 3, 2004.

  Breakfast Roundtable Organizer and Moderator, Cyberhood: Urban Affairs on the Web. Urban
  Affairs Association Annual Meeting, Washington, D.C., March 31, 2004-April 3, 2004.

  Session Organizer and Presider, Issues in Urban Sociology and Community Development,
  Southwestern Social Science Association Annual Meeting, San Antonio, Texas, April 16-19,
  2003.

  Panel Organizer, Emerging Themes in Urban Equity and Spatial Analysis, Annual Meeting of the
  Urban Affairs Association, Cleveland, Ohio, March 26-29, 2003.

  Table Presider, Community Development and Planning, American Sociological Association
  Annual Meeting, Chicago, Illinois, August 16-19, 2002.

  Panel Organizer, Community Organizing and Citizen Participation, Annual Meeting of the Urban
  Affairs Association, Boston, Massachusetts, March 20-23, 2002.

  Session Organizer and Presider, Social Capital and the City, American Sociological Association
  Annual Meeting, Anaheim, California, August 18-21, 2001.

  Session Moderator, Measuring the Impact of Black Political Involvement, Annual Meeting of the
  Urban Affairs Association, Detroit, Michigan, April 25-28, 2001.
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       Session Presider, Race, Class and Ethnicity in Urban Issues, Annual Meeting of the Southern
       Sociological Society, New Orleans, Louisiana, April 19-23, 2000.

       Session Organizer, The Intersection of Religion and Race in the Black Community, the
       Association of Social and Behavioral Scientists Meeting, Jackson, Mississippi, March 23-25,
       2000.

       Panel Member, Neighborhood Planning and Consensus Building, Mississippi Chapter of the
       American Planning Association (MAPA) Summer Conference, Tunica, Mississippi, June 17-18,
       1999.

       Panel Moderator, Community Development, Symposium on Local Planning and Community
       Building, Jackson State University, Jackson, Mississippi, March 24, 1999.

Teaching:

Undergraduate Courses Taught:

       END 350: Environmental Design Workshop 1: Information Analysis (Fall 2014, Fall 2013, Fall 2012)
       SOC 101: Introduction to Sociology (Fall 1997, Summer 1996)
       SOC 103: World Society (Fall 1997)
       SOC 200: Contemporary American Society (Spring 1998, Fall 1997)
       SOC 224: American Minority Groups (Spring 1998, Fall 1997, Fall 1996)
       SOC 261: Introduction to Statistical Thinking in Sociology (Spring 1996)
       SOC 333: Social Class in Industrial Societies (Spring 1998, Fall 1995)
       SOC 3300: Social Institutions and Social Structure (Fall 2002)
       SOC 4200: Methods of Social Research (Fall 2000)
       UE 141: Community-Based Development (Fall 2008)

Graduate Courses Taught (and Cross-listed Undergraduate/Graduate Courses Taught):

       PD 439/PD 539: Local Government Finance and Budgeting (Fall 2003, Fall 2005, Fall 2007, Spring
                2010, Spring 2000)
       END406 / END606 / URP606: Housing and Community Development (Fall 2023, Fall 2022, Fall
              2021, Fall 2020, Spring 2020, Spring 2019, Spring 2018, Spring 2017; Spring 2016, Spring 2015, Fall 2012,
              Fall 2010, Fall 2009, Fall 2008, Spring, 2004, Spring 2005, Fall 2006; Spring 2000, Spring 1999)
       EVS696: Graduate Research Guidance (Fall 2022)
       PD 694: Colloquium in Urban Planning 4 (Spring 2004)
       SOC 5570/AFS 5570: Race Relations in Urban Society (Winter 2002, Fall 2000)
       SOC 5700/SOC 8700: Inequality and Social Class/Social Stratification and Inequality (Fall 2001)
       SOC 6280: Social Statistics (Fall 2002)
       SOC 7170: Field Research in Community Sociology (Fall 2001)
       SOC 7200: Advanced Sociological Research Techniques (Winter 2003, Winter 2002, Winter 2001)
       URP509/URP675: Advanced Qualitative Research Seminar (Spring 2024, Spring 2023, Spring 2022,
              Spring 2021, Fall 2017, Fall 2016, Fall 2015, Fall 2014, Fall 2013, Fall 2012, Spring 2011)
       URP 512: Research Methods in Planning (Fall 2021, Fall 2020, Fall 2019, Spring 2015, Spring 2014, Spring
              2013, Fall 2010, Fall 2009, Fall 2004, Fall 1998)
       URP 520: Housing Policy (Fall 1998)
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       URP 526: Citizen Participation (Spring 1999)
       URP 528: Economic Development Planning (Fall 1999)
       END 441/ URP 541: Nonprofit Management (Fall 2023, Fall 2019, Fall 2017, Fall 2016, Fall 2013, Spring
       2012, Spring
                2011, Spring 2010, Spring 2009, Spring 2008, Spring 2007, Spring 2006)
       URP 560: Thesis Research (Fall 1999)
       URP 577: Negotiations and Community Organizing Techniques (Spring 2024, Spring 2023, Spring 2022,
                Spring 2021, Spring 2020, Spring 2019, Spring 2018, Spring 2017)
       URP694: Urban Planning Doctoral Seminar (Spring 2016)

Graduate Student Thesis and Dissertation Committees:

Dissertations Completed:

       Last, Athena Nicole, Committee Member, Doctoral Dissertation, Procedural and Distributive
       Justice … For Whom?: A Comparative Investigation of Community Benefits Agreements in
       Pittsburgh and Cleveland, Department of Sociology, Syracuse University, 2023.

       Buggs, Pascal, Committee Chair, Doctoral Dissertation, To House Me Right: Impact of Voucher
       Destinations on Single Black Mothers’ Welfare Dependency, Department of Urban and Regional
       Planning, University at Buffalo, 2023.

       Belongie, Nicholas, Committee Chair, Doctoral Dissertation, Hypocrisy in Housing: The Racist
       and Anti-Poor Undergirding of US Federal Housing Policy, Department of Urban and Regional
       Planning, University at Buffalo, 2021.

       Ilhamdaniah, Committee Chair, Doctoral Dissertation, Suburban Neighborhood Change and Its
       Manifestation in The Disparities in Suburban Neighborhood Quality, Educational Opportunities,
       and School Performance between 2010-2015: Case Study of Suburban Buffalo Metropolitan
       Area, Department of Urban and Regional Planning, University at Buffalo, 2019.

       Yasmin Okour, Committee Member, Doctoral Dissertation, Transportation Equity for Refugees,
       Department of Urban and Regional Planning, University at Buffalo, 2019.

       Molly Ranahan, Committee Chair, Doctoral Dissertation, Planning for the health and social
       inclusion of LGBT older adults, Department of Urban and Regional Planning, University at
       Buffalo, 2017.

       Samuel Rose, Committee Member, Doctoral Dissertation, Mohawk histories and futures:
       Traditionalism, community development and heritage in the Mohawk Valley, Anthropology
       Department, University at Buffalo, 2017.

       Levent Kaya, Committee Member, Doctoral Dissertation, Evaluation of the Effects of School
       Choice-based Reforms in the Case of Pennsylvania Charter Schools, Educational Leadership and
       Policy Department, School of Education, University at Buffalo, 2014.

       Brian Pagkos, Committee Member, Doctoral Dissertation, The Effect of Wraparound Practice
       Ideology and Care Coordinator Practices on Client Outcomes, Social Welfare Program, School
       of Social Work, University at Buffalo, 2011.
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       Lina Beydoun, Committee Member, Doctoral Dissertation, Lebanese Migration to Sierra Leone:
       Issues of Transnationalism, Gender, Citizenship, and the Construction of a Globalized Identity,
       Department of Sociology, Wayne State University, 2005.

       Derek Coates, Committee Member, Doctoral Dissertation, Social Order and the Construction of
       Meaning in Social Interaction: Troubled Communication Between Sighted and Partially
       Sighted/Blind People, Department of Sociology, Wayne State University, 2003.

       Bonnie Wright, Committee Member, Doctoral Dissertation, Experiencing God: An Ethnographic
       Analysis of Pentecostal Worship, Race, and Place in Metropolitan Detroit, Department of
       Sociology, Wayne State University, 2003.

Theses Completed:

       Jacob Kotler, Committee Member, Master’s Thesis, Social Control, Changing Spaces, and
       Buffalo’s Neighborhood Development Complaints, Department of Urban and Regional Planning,
       University at Buffalo, 2022.

       Justyn Bellitto, Committee Member, Master’s Thesis, Planning for the Unrecognized: Asset-
       Based Economic Development on the Poospatuck Territory of the State-Recognized Unkechaug
       Nation, Department of Urban and Regional Planning, University at Buffalo, 2022.
       David Riley, Committee Member, Master’s Thesis, Place-Based Storytelling as a Foundation for
       Community Development, Department of Urban and Regional Planning, University at Buffalo,
       2018.

       Tara Kamal Ahmadi, Committee Chair, Master’s Thesis, Walkable Tourist District: An Analysis
       of Tourist Walkability in Niagara Falls on New York and Ontario, Department of Urban and
       Regional Planning, University at Buffalo, 2016.

       Bruno Avila Eca De Matos, Committee Chair, Crowdfunding urban infrastructure: Qualitative
       and geospatial analysis, Master’s Thesis, Department of Urban and Regional Planning,
       University at Buffalo, 2016.

       Camden Miller, Committee Member, Master’s Thesis, The Martin Luther King Jr. neighborhood
       development initiative: The challenge of renters and homeowners in a shrinking, underdeveloped
       neighborhood, Department of Urban and Regional Planning, University at Buffalo, 2016. (Best
       Thesis Award)

       Samuel Rose, Committee Chair, Master’s Thesis, Comparative Models of American Indian
       Economic Development: Corporate versus Cooperative in the United States and Canada,
       Department of Urban and Regional Planning, University at Buffalo, 2013. (Best International
       Thesis Award)

       Samuel Rose, Committee Member, Master’s Thesis, A New Way Forward: Native Nations,
       Nonprofitization, Community Land Trusts, and the Indigenous Shadow State, Department of
       Anthropology, University at Buffalo, 2013.
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  Christina Delgado, Committee Member, Master’s Thesis, Contest Urbanism: A Case Study of
  Meaning and Manifestation in the Built Environment through Community Garden Design,
  Department of Urban and Regional Planning, University at Buffalo.

  Jack Daugherty, Committee Member, Master’s Thesis, Revitalize: How Contemporary Planners
  View Their Role in Addressing Neighborhood Distress, Department of Urban and Regional
  Planning, University at Buffalo, 2012.

  Ozlem Atalay, Committee Chair, Master’s Thesis, Perceptions of the Renewal and Reuse of
  Historic Buildings in the Beyoglu District of İstanbul, Turkey: A Case Study of the Demiroren
  Shopping Mall, Department of Urban and Regional Planning, University at Buffalo, 2012.

  Megan Hathaway, Committee Member, Master’s Thesis, Amalgamating Urban Development: A
  Case for Merging Local Community and Economic Development Efforts, Department of Urban
  and Regional Planning, University at Buffalo, 2012.

  Holly Lindstrom, Committee Chair, Master’s Thesis, Property Flipping as Neighborhood
  Destabilization Versus Short-Term Real Estate Investment as Community Reinvestment: A Case
  Study of Buffalo, NY, Department of Urban and Regional Planning, University at Buffalo, 2007.

  Jaclyn Patrignani, Committee Chair, Master’s Thesis, The Role of Farmers’ Markets in
  Community and Economic Development as Supported by Municipal Zoning Codes, Department
  of Urban and Regional Planning, University at Buffalo, 2006.

  Ellen Talbo, Committee Chair, Master’s Thesis, Homelessness in Buffalo, NY: A Qualitative and
  Spatial Review, Department of Urban and Regional Planning, University at Buffalo, 2006.

  Kruti Bhatia, Committee Member, Master’s Thesis, Urban Form and Public Service Expenditure,
  Department of Urban and Regional Planning, University at Buffalo, 2005.

  Mark Bostaph, Committee Member, Master’s Thesis, Looking at Neighborhood Rehabilitation as
  a Strategy for Neighborhood Revitalization, Department of Urban and Regional Planning,
  University at Buffalo, 2005.

  Darren Kempner, Committee Chair, Master’s Thesis, Rebuilding Forgotten Communities of a
  Rustbelt Region: An Examination of Community-Based Organization Capacity in Erie-Niagara,
  Department of Urban and Regional Planning, University at Buffalo, 2005. (Best Thesis Award)

  Brian R. Gatewood, Committee Member, Master’s Thesis, Why a City Fails: A Look at the
  University and Its Relationship to the Urban Predicament, Department of Urban and Regional
  Planning, University at Buffalo, 2005.

  Marcus Cole, Committee Member, Master’s Thesis, Public and Private Partnerships: Are They
  the Solution to Improved Public Housing, Department of Urban and Regional Planning,
  University at Buffalo, 2004.
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       Charles Colston, Committee Member, Master’s Thesis, Regionalism: Beyond Equity and What it
       Means for African-American Communities, Department of Urban and Regional Planning,
       University at Buffalo, 2004.

       Marneda Evans, Committee Member, Master’s Thesis, Meeting Public Health Needs: Health
       Law, Bioterrorism, and Reemerging Diseases, Department of Urban and Regional Planning,
       University at Buffalo, 2004.

       Leslie Fordjour, Committee Member, Master’s Thesis, The Quest to Reach Job Centers:
       Commuting without Private Transportation in Erie County, Department of Urban and Regional
       Planning, University at Buffalo, 2004.

       Ruilin Guan, Committee Member, Master’s Thesis, Achieve Community Open Space: Concepts
       and Practice, Department of Urban and Regional Planning, University at Buffalo, 2004.

       Shawntera Hardy, Committee Member, Master’s Thesis, Putting on a New Face: The Case for
       [Re] Imaging Youngstown, Ohio, Department of Urban and Regional Planning, University at
       Buffalo, 2004.

       Fechner Stecker, Committee Member, Master’s Thesis, Literature Review of Immigrant and
       Ethnic Entrepreneurship Research, Department of Urban and Regional Planning, University at
       Buffalo, 2004.

       Jason Booza, Committee Chair, Master’s Thesis, Black Middle Class Migration: A Critical Case
       Study of Metropolitan Detroit, Department of Sociology, Wayne State University, 2003.

       Scott Turner, Committee Chair, Master’s Essay, Department of Sociology, Economic and
       Political Influences on African American Families and Youth in Poverty, Wayne State University,
       2003.

       Whitney C. Kelly, Committee Member, Master’s Thesis, Developing Downtown Housing:
       Evaluating Proposals for Jackson, Mississippi, Department of Urban and Regional Planning,
       Jackson State University, 2000.

Master’s Project Papers Completed:

       John Collins, MA Project Advisor, A Literature Review of the United States Cannabis Industry’s
       Sustainability Concerns and Best Management Practices, Sustainability Leadership MA
       Program, University at Buffalo, 2022.

Undergraduate Student Thesis Committees:

Theses Completed:

       Alexis Carrington, Committee Member, Undergraduate Thesis, Self-Sustaining Affordable
       Housing, Interior Design Program, Villa Maria College, 2022.

       Paul Stephan, Committee Chair, Honors Thesis, US Government Response to Hurricanes Katrina
       and Sandy, Interdisciplinary Studies Program, University at Buffalo, 2013.
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Service:

Professional Service:

Website Moderator:

       The Cyberhood (www.thecyberhood.net), 2003-.

Committees and Boards:

       Journal of Community Practice, Journal Editor Proposal Review and Selection Committee,
       Member, 2021.

       Urban Affairs Association Nominations Committee, Chair, 2021-23.

       Promotion and Tenure Committee, Sustainability Studies Division of the School of Marine and
       Atmospheric Sciences (SoMAS), Stony Brook University, Outside Advisor for Planning Faculty
       Promotion Cases, 2021-.

           Urban Affairs Association Ad Hoc Committee on Fundraising, Member, 2020-22.

       Erik Olin Wright Distinguished Article Award Committee, Member, 2019-2020.

       Urban Affairs Association Honors Society Committee, Chair, 2018-2020.

       Association of Collegiate Schools of Planning, Member, 2018 Conference Local Host
       Committee, 2017-2018.

       Urban Affairs Association Governing Board Chair, 2017-2018.

       Urban Affairs Association Governing Board Vice Chair, 2015-2017.

       Urban Affairs Association, Bylaws Committee, 2014-2015.

       Co-Chair, Program Committee, 2014 Society for the Study of Social Problems Annual Conference,
       San Francisco, CA, 2013-2014.

       Urban Affairs Association, SAGE Activist Scholar Award Committee, 2014, 2015.

       Urban Affairs Association Ad Hoc Committee on Student Participation (Chair), 2013.

       Urban Affairs Association Governing Board, 2012-2015 (1st term); 2015-2018 (2nd term).

       Urban Affairs Association, Emerging Scholar Award Committee, 2012-2014.

       Association for Research on Nonprofit Organizations and Voluntary Action (ARNOVA) Award
       Committee, Best Paper Presented at the 2010 ARNOVA Conference, 2011.
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       Co-Chair, Track 3: Housing and Community Development, 3rd World Planning Schools
       Congress; Perth, Australia in July 2011.

       Association for Research on Nonprofit Organizations and Voluntary Action (ARNOVA) Award
       Committee, Best Paper Presented at the 2009 ARNOVA Conference, 2010.

       Proposal Reviewer, Public Budgeting and Finance Section, 2010 American Society for Public
       Administration Annual Conference. 2009-2010.

       Association for Research on Nonprofit Organizations and Voluntary Action (ARNOVA) Award
       Committee, Outstanding Article in Nonprofit and Voluntary Sector Quarterly, 2009.

       Planners Network, University at Buffalo Representative, 2008-.

       Buffalo-Niagara Chapter of the American Society for Public Administration (ASPA), President,
       2007-2009.

       Community Development Society, Editor Selection Committee for Community Development:
       Journal of the Community Development Society, 2007.

       Buffalo-Niagara Chapter of the American Society for Public Administration (ASPA), Director of
       Membership, 2006-2007.

       Community Development Society, Communications and Publications Committee, 2004-2014.

       New York State Association of Realtors, Awards Selection Committee, Award for Smart Growth
       Excellence, 2005-2006.

       Community Development Society, Awards and Recognition Committee, 2003-2006.

       Western New York Chapter of the American Planning Association (WNYAPA), Awards
              Committee, 2004-2005.

Journal Editorial Board & Advisory Board Member:

       Editorial Board, Community Development: Journal of the Community Development Society,
       2005-2013.

       Editorial Board, Critical Sociology, 2005- .

       Editorial Board, Current Urban Studies, 2013- .

       Editorial Board, Frontiers in Sustainable Cities, 2021-.

       Editorial Board, Journal of Community Practice, 2018-2022, 2022-2024.

       Editorial Board, Journal of Policy Practice and Research, 2019- .

       Editorial Board, Sage Open, 2013-.
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       Editorial Board, Societies, 2018- .

       Strategic Development Committee, Journal of Urban Affairs, 2015-2018.

Journal Referee:

       Action Research, 2015-; Annals of the American Association of Geographers, 2023-; Applied
       Geography, 2020-; British Journal of Sociology, 2008-;City & Community, 2002 -; Cities, 2020-;
       Community Development, 2005-; Critical Sociology, 2000 -; Economic Development Quarterly,
       2014-; Education Sciences, 2016-; Futures 2008-; Habitat International, 2018-; Housing Policy
       Debate, 2009-; Housing Studies, 2012- ;International Journal of Housing Policy, 2019-;
       International Journal of Sociology and Social Policy, 2016-;International Review of Sociology,
       2019-; Journal of the American Planning Association, 2004 -; Journal of Community Practice,
       2014-; Journal of Contemporary Ethnography, 2001 -; Journal of Housing and the Built
       Environment, 2018-; Journal of Information Technology and Politics, 2007 -; Journal of
       Planning Education and Research, 2009-; Journal of Planning Literature, 2016-; Journal of
       Policy Practice and Research, 2020; Journal of Poverty, 2014-; Journal of Urban Affairs, 2006-,
       and Senior Reviewer, 2019- ; Law & Society, 2006–; Nonprofit and Voluntary Sector Quarterly,
       2012-; Papers in Regional Science, 2019-; The Professional Geographer, 2018-.; Qualitative
       Sociology, 2001 -; Rural Sociology 2009-; Review of Black Political Economy, 2012-; Royal
       Town Planning Institute (RTPI) Library Series, Routledge Press, 2018-; Sage Open, 2016-;
       Social Forces, 2003 -; Social Problems, 2005 -; Social Service Review, 2019-; Sociological
       Perspectives, 2004 -; The Sociological Review, 2006 -; State and Local Government Review,
       2012-; Sustainability, 2017-; Town Planning Review, 2013-; Urban Affairs Review, 1999 -;
       Urban Education, 2012-; Urban Geography, 2013-; Urban Research & Practice, 2013-; Urban
       Studies, 2013-; Voluntas, 2010- .

Monograph Referee:

       Sage Publications, 2003 -; Policy Press, 2016-; Rowman and Littlefield, 2009-; Routledge, 2014-;
       University of Michigan Press, 2006 -; University of Pittsburgh Press, 2018-.

Government Publication Referee:

       U.S. Environmental Protection Agency (EPA): Office of Policy, Economics and Innovation,
       2005-.

Grant Reviewer:

       Canada Research Chairs Program, 2021.

       Davidson Institute, Davidson Fellows Scholarship, 2023.

       Social Science Research Counsel of Canada, 2020.

       Polish-U.S. Fulbright Commission, 2019.

       National Science Foundation, 2010 - .
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       Qatar National Research Fund, 2010 - .

Research Mentor:

       Research Mentor, “Exploring Coastal Community Response and Preparedness to Earthquakes: A
       Lesson from Maluku Province, Indonesia.” 2023 Natural Hazards Student Research Grant, Center
       for Geological and Climate Hazards, University at Buffalo. Mentor to Wiesye Violet Pelupessy.

       Research Mentor, Advancing Knowledge in Human Services Philanthropy and Nonprofit
       Organizations (“Advancing Knowledge”) initiative. This is a research initiative of the Center on
       Philanthropy at Indiana University. 2012-2013 (mentor to Dr. Jennifer Shea’s study entitled,
       “Managing Mission & Revenue Diversification in Complex Policy and Funding Environments: A
       Study of Nonprofit Housing Organizations.”)

University Service:

Service on University Level Committees:

       University at Buffalo, Community Health Equity Research Institute, Task Force on Substandard
       Housing and Health, 2021-.

       University at Buffalo, Addictions Initiative, Subcommittee for Research and Scholarship, 2016-2017.

       University at Buffalo, Provost’s Office, 5yr Review Committee for the Dean of Architecture and
       Planning, 2016-2017.

       University at Buffalo, Institute for Strategic Enhancement of Educational Diversity (iSEED)
       Steering Committee, 2014-2017.

       University at Buffalo; Faculty Senate; Faculty Tenure, Promotion, and Privileges Committee,
       2014-2015.

       University at Buffalo, Faculty Senate Executive Committee, 2010-2011.

       University at Buffalo, Sweat Free Apparel Committee, 2009-2013.

       United University Professions (UUP) University at Buffalo Chapter, Finance Committee, 2009-
       2012.

       United University Professions (UUP) University at Buffalo Chapter, Individual Professional
       Development Award Committee, 2008-2010.

       United University Professions (UUP) University at Buffalo Chapter, Academic Delegate, 2007-
       2009.

       Faculty Associate to Dr. Dong Ho Shin, 2007-2008 Fulbright Visiting Scholar to the University
       at Buffalo.
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       Planning Committee for the “UB Community Forum on Neighborhood Profiles,” 2007.

       The Interdisciplinary Research Development Fund - Arts, Humanities & Civil Engagement Panel,
       University at Buffalo, 2005.

       Social and Behavioral Sciences Institutional Review Board (SBSIRB), University at Buffalo,
       September 2004-2007.

       Human Investigations Committee (HIC), Behavioral Institutional Review Board, Wayne State
       University, 2002-2003.

       Southern Association of Colleges and Schools (SACS), Jackson State University, Committee on
       Educational Programs- Including Distance Learning, 1999-2000.

Service on College and School Level Committees:

       SUNY, Comprehensive Program Review Committee, University at Buffalo, Department of Urban
       and Regional Planning, 2022-.

       Search Committee, Chair, Empire Innovation Professor (EIP), School of Architecture and
       Planning (S&AP) and School of Engineering and Applied Sciences (SEAS) 2021-2022.

       Baldy Center Research Grant Review Committee, The Baldy Center for Law & Society, 2020,
       2022.

       Public Programs Committee, 2019-2021.

       Racial Equity and Social Justice (RESJ) Advisory Committee, 2019-.

       Student Professional Development Committee, 2019-.

       Symposium and Exhibit Committees for the Grand Opening of Hayes Hall, 2015-2016.

       School-wide Promotion and Tenure Committee, 2011, 2014, 2016, 2023.

       School of Architecture and Planning, Intersight Committee 2013-2014.

       Graduate School Executive Committee, 2012-2013.

       School of Architecture and Planning, Commencement Committee, 2012-2013.

       Graduate School Adjudication Committee, University at Buffalo, 2012-.

       Graduate School Adjudication Committee, University at Buffalo, 2009-.

       Salary Committee, Wayne State University, College of Liberal Arts, 2001-2002.

Service on Departmental Committees:
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  Interim Director, Neighborhood Planning Specialization, Department of Urban and Regional
  Planning, Fall 2023.

  Junior Faculty Mentoring Committee (Zoe Hemstead), Department of Urban and Regional
  Planning, 2018.

  MUP Program and Curriculum Committee, Department of Urban and Regional Planning, 2015-
  2016, 2023).

  Diversity Committee, Department of Urban and Regional Planning, 2015-2016.

  Personnel Committee, Department of Urban and Regional Planning, 2014-.

  Doctoral Admissions and Curriculum Committee, Department of Urban and Regional Planning,
  2013-2017, 2018-.

  Ph.D. Program Research Methods and Design Committee, Department of Urban and Regional
  Planning, 2013-2016.

  Faculty Search Committee, Department of Urban and Regional Planning, 2013, 2019.

  Junior Faculty Mentor to Himanshu Grover, 2012-2015.

  Departmental IT Committee, Chair 2012-2014

  Departmental Awards Committee, Chair, 2011-2013.

  MUP Project Review Committee, 2010-2013.

  MUP Admissions Committee, University at Buffalo, Department of Urban and Regional
  Planning, 2003, 2009-2012.

  Ph.D. Program Structure Subcommittee, 2008-2009.

  Clarkson Chair Coordinating Committee, University at Buffalo, Department of Urban and
  Regional Planning, 2004-2005.

  Research Methods, University at Buffalo, Department of Urban and Regional Planning, 2003.

  Culminating Exercise Committee, University at Buffalo, Department of Urban and Regional
  Planning, 2003.

  Graduate Committee, Wayne State University, Department of Sociology, 2003.

  Salary Committee, Wayne State University, Department of Sociology, 2001-2003.

  Methods Committee, Wayne State University, Department of Sociology, 2000-2003.

  Undergraduate Committee, Wayne State University, Department of Sociology, 2000-2002.
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       Faculty Search Committee, External Search for Departmental Chair, Wayne State University,
       Department of Sociology, 2000-2001.

       Faculty Search Committee (Chairperson), Community Development and Housing Concentration,
       Jackson State University, Department of Urban and Regional Planning, 1999-2000.

       Faculty Search Committee (Chairperson), Community Development and Housing Concentration,
       Jackson State University, Department of Urban and Regional Planning, 1998-1999.

       Module Coordinator, Community Development and Housing Concentration, Jackson State
       University, Department of Urban and Regional Planning, 1998-2000.

       Urban Studies Admissions Committee, Alternate Student Representative, University of
       Wisconsin-Milwaukee, 1993-1994.

       Urban Studies Speakers and Lectures Committee, Student Representative, University of
       Wisconsin-Milwaukee, 1992-1993.

       Urban Studies Curriculum Committee, Student Representative, University of Wisconsin-
       Milwaukee, 1992-1993.

Community Service:

Service on Committees and Commissions:

       Enterprise (enterprisecommunity.org) and New York State, Mobility Counseling Advisory Group,
       Member, 2022-.

       Erie County COVID-19 Housing Taskforce, Member, 2020-.

       Partnership for the Public Good (PPG), Policy Research Fellow, 2018-.

       Housing Opportunities Made Equal (HOME), Buffalo, NY, Governing Board Member, 2011- 2013

       Recruiter, DART Organizers Institute, Direct Action and Research Training Center (DART), 2010-
       2016.

       Urban Community Corporation (UCC), Board of Directors, 2006-2008.

       Inner City Transformation Group (ICTG), 2003-2005.

       Metro Parkway Commission, Jackson State University Representative, 1999-2000.

       Mississippi Complete Count Committee (U.S. Census 2000), 1998-2000.
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          APPENDIX B
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List of Materials Considered 1
Academic Literature, Reports, and News Articles:
Alfonso, R.I. (2014). They aren’t going to listen to anything but violence: African Americans
        and the 1967 Buffalo Riot. Afro-Americans in New York Life and History, 38(1): 81-117.
Anderson, M.W. and Plaut, V.C. (2012). Implicit bias and the resilience of spatial colorlines, Pp. 24-44,
        in Implicit racial bias across the law, edited by Justin D. Levinson and Robert J. Smith,
        New York: Cambridge University Press.
Besag, F.P. (1967). Anatomy of a riot: Buffalo ’67. Buffalo: University Press.
Blanchard, T (2014). Letter to Dr. William Keresztes, Interim Superintendent, Buffalo Public
        Schools, re. Case No. 02-14-1077, U.S. Department of Education, New York Office for
        Civil Rights, July 1, 2014 (https://www2.ed.gov/about/offices/list/ocr/docs/
        investigations/more/02141077-a.pdf)
Blatto, A. (2018) A City Divided: A Brief History of Segregation in Buffalo. Buffalo: Partnership
        for the Public Good.
Brown University, Diversity and Disparities Buffalo Data for the City Area
        (https://s4.ad.brown.edu/projects/diversity/segregation2020/city.aspx?cityid=3611000)
Buffalo News Staff (2006), Brown has a low-key start, still tough to gauge precisely: a mayor
        busy brainstorming changes in City Hall. Buffalo News, Apr. 19.
Buffalo Public Schools (2014). Resolution Agreement with the U.S. Department of Education,
        New York Office for Civil Rights re. Case No. 02-14-1077, June 26, 2014
        (https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/02141077-b.pdf)
Byrnes, M. (2014). “Buffalo was once a model for integration, now the vast majority of its public
        schools are segregated. City Lab, April 11, 2014 (https://www.bloomberg.com/news/
        articles/2014-04-11/buffalo-was-once-a-model-for-integration-now-the-vast-majority-of-
        its-public-schools-are-segregated)




1
 Sources are either publicly available or on file with the author and will be provided to
Defendants upon request.
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Citizen Action of New York (2015). Restoring justice in Buffalo public schools: Safe and
       supportive quality education for all. Albany: Citizen Action for New York.
Cohen, N.E. (1967) The Los Angeles riot study. Social Work, 12(4): 14-21.
Cortellessa, E. (2022). The Buffalo shooter targeted a city haunted by segregation. Time, May
       16, (https://time.com/6177193/buffalo-mass-shooting-racism-segregation/).
czb LLC. (2017). Buffalo Housing Opportunity Strategy, A Report Prepared for the City of
       Buffalo. Buffalo: City of Buffalo.
Ewing, C. (2021). Cariol Horne’s long fight over 'doing the right thing', WGRZ, May 28,
       (https://www.wgrz.com/article/news/local/cariol-horne-long-fight/71-f8b641db-833e-
       4f8d-b7f0-c26bccfdcd19).
Fleischmann, I. (2014). Expert’s analysis highlights “stop-and-frisk” forum. UB Reporter, March
       27, (https://web.archive.org/web/20150111065120/http:/www.buffalo.edu/ubreporter/
       campus.host.html/content/shared/university/news/ub-reporter-
       articles/stories/2014/March/stop_frisk.detail.html)
Foster, L. (2020). The price of justice: Fines, Fees and the criminalization of poverty in the
       United States. University of Miami Race and Social Justice Law Review, 11: 1-32.
Gawley, M.P. (2022) “They were planning on it”: Recasting the 1967 Buffalo uprising as a
   student-driven insurgency. Waterville: Colby College.
Goldman, M. (1990). City on the Lake: The Challenge of Change in Buffalo, New York. Buffalo:
       Prometheus Books.
Grabiner, G. (2016). Who polices the police? Social Justice, 43(2): 58-79.
Griffin, D. (2017). They were never silent, you just weren’t listening: Buffalo’s black activists in
       the age of urban renewal. Hartford: Trinity College.
Hackworth, J. (2015). Rightsizing as spatial austerity in the American Rust Belt. Environment
       and Planning A, 47: 766-782.
Heaney, J. (2022). Buffalo is a segregation city. Investigative Post, May 17, 2022
       (https://www.investigativepost.org/2022/05/17/buffalo-is-segregation-city/).
Herko, C. (1993) One street, different worlds. The Buffalo News, March 14, E1
       (https://buffalonews.com/news/one-street-different-worlds-all-along-main-a-barrier-
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       between-the-haves-and-the-have/article_b0b0d87d-10e5-5d65-86a5-
       396697945110.html).
Hess, D.B. (2005). Access to employment for adults in poverty in the Buffalo-Niagara region.
       Urban Studies, 42(7): 1177-1200.
Housel, J.A. (2007). Placing race: The role of regulation and social practice in the production of
       racialized space in Buffalo, New York. Buffalo: University at Buffalo.
Jolly, K. (2016). Parent group maintains civil rights in Buffalo schools have taken “step
       backwards.” Spectrum Local News, June 17,
       (https://spectrumlocalnews.com/news/2016/06/17/dpcc-ocr-bps-african-american-
       students-recommendations-).
Kelly, G. (2020). Buffalo’s police watchdogs are toothless: Our analysis finds the city has no
       effective oversight of police, nor has the mayor proposed a mechanism for doing so.
       Investigative Post, June 11, (https://www.investigativepost.org/2020/06/11/buffalos-
       police-watchdogs-are-toothless/)
Kirkpatrick, L.O. (2015). Urban triage, city systems, and the remnants of community: Some
       ‘sticky’ complications of greening in Detroit. Journal of Urban History, 4(2): 261-278.
Kraus, N. (2000). Race, neighborhoods, and community power: Buffalo politics 1934-1997.
       Albany: State University of New York Press.
Kraus, N. (2004a). Local policymaking and concentrated poverty: The case of Buffalo, New
       York. Cities, 21(6): 481-490.
Kraus, N. (2004b). The significance of race in urban politics: The limitations of regime theory.
       Race and Society, 7: 95-111.
Losen, D.J and Martinez, P. (2020). Lost opportunities: How disparate school discipline
       continues to drive differences in the opportunity to learn. Palo Alto, CA/Los Angeles,
       CA: Learning Policy Institute; Center for Civil Rights Remedies at the Civil Rights
       Project, UCLA.
McBride, R.A. (2018). Policing for profit: How urban municipalities’ focus on revenue has
       undermined law enforcement legitimacy. Faulkner Law Review, 9:329-360.
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Mughan, S. and Singla, A. (2022). Does revenue-motivated policing alter who receives traffic
       citations?: Evidence from driver race and income in Indiana. Public Administration
       Review, 83: 353-366.
O’Donnell, D.E. (1980). The inequitable burden of school desegregation remedies: The effects of
       shift in Supreme Court decisions on the Buffalo Desegregation Case, 29 Buff. L.729.
       Buffalo Law Review, 29(4): Article 11.
O’Neil-White, T. (2023). Not a thing of the past: How a history of racial residential segregation
       in Buffalo led to the Tops shooting. WBFO-FM 887, May 10.
       https://www.wbfo.org/racial-equity/2023-05-10/not-a-thing-of-the-past-how-a-history-of-
       racial-residential-segregation-in-buffalo-lead-to-the-tops-shooting
Orfield, G., Ayscue, J., Ee, J., Frankenburg, E., Siegel-Hawley, G., Woodward, B. and Amalani,
       N. (2015) Better choices for Buffalo’s students: Expanding and reforming the criteria
       schools system. [A Report to Buffalo Public Schools]. Los Angeles: The Civil Rights
       Project.
Pacewicz, J. and Robinson, J.N, III. (2021). Pocketbook policing: How race shapes municipal
       reliance on punitive fines and fees in the Chicago suburbs. Socio-Economic Review,
       19(3): 975-1003.
Partnership for the Public Good. (2016). Collaboration, communication and community-
       building: A new model of policing for 21st Century Buffalo. Buffalo: Partnership for the
       Public Good.
Partnership for the Public Good. (2017). Better Policing for the City of Buffalo: Toward
       community, transparency, and justice. Buffalo: Partnership for the Public Good
       (https://ppgbuffalo.org/files/documents/ppg_better_policing_for_the_city_of_buffalo_sep
       tember_2017.pdf).
Patterson, K.L., Silverman, R.M., Wang, C. (2021). It’s not always sunny in San Diego for
       Housing Choice Voucher (HCV) holders: The reproduction of racial and socioeconomic
       segregation under the Choice Communities Initiative, Journal of Policy Practice and
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